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                                                                    5
                                                                                                 UNITED STATES DISTRICT COURT
                                                                    6
                                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                                                    7

                                                                    8
                                                                        LLOYD PARSONS,                                             Case No.
                                                                    9
                                                                                           Plaintiff,                              COMPLAINT
                                                                   10
                                                                        v.
                                                                   11                                                              JURY TRIAL DEMANDED
   LLP




                                                                      SYNGENTA CROP PROTECTION LLC,
                         11111 Santa Monica Boulevard, Suite 700

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                                                                   12 SYNGENTA AG, and CHEVRON U.S.A.,
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                               Los Angeles, California 90025




                                                                      INC.,
                                                                   13
                                                                               Defendants.
                                                                   14

                                                                   15

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                                                                   18               Plaintiff LLOYD PARSONS, brings this Complaint against Defendants, Syngenta Crop

                                                                   19 Protection LLC, Syngenta AG, and Chevron U.S.A., Inc., and alleges as follows:

                                                                   20        I.     Summary of the case
                                                                   21
                                                                                    1.     The manufacturers and sellers of paraquat deliberately concealed the dangers of
                                                                   22
                                                                        paraquat for at least four decades, hid evidence of its dangers from government safety agencies, and
                                                                   23
                                                                        knowingly unleased a product they knew caused Parkinson’s Disease on the public.
                                                                   24

                                                                   25               2.     Paraquat is a synthetic chemical compound1 that since the mid 1960s has been

                                                                   26 developed, registered, manufactured, distributed, sold for use, and used as an active ingredient in

                                                                   27
                                                                        1
                                                                   28       Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide Chemical Code


                                                                                                               SECOND AMENDED COMPLAINT
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                                                                        herbicide products (“paraquat products”) developed, registered, formulated, distributed, and sold for
                                                                    1

                                                                    2 use in the United States (“U.S.”), including the State of Oregon (“Oregon”).

                                                                    3              3.       From approximately May 1964 through approximately June 1981, Imperial Chemical

                                                                    4 Industries Limited (“ICI Limited”) and certain ICI Limited subsidiaries2, and from approximately

                                                                    5
                                                                        June 1981 through approximately September 1986, Imperial Chemical Industries PLC (“ICI PLC”)
                                                                    6
                                                                        and certain ICI PLC subsidiaries, each of which was a predecessor3 of Defendants SYNGENTA AG
                                                                    7
                                                                        (“SAG”) and/or Defendants SYNGENTA CROP PROTECTION LLC (“SCPLLC”), were engaged,
                                                                    8
                                                                        directly, acting in concert with each other, and/or acting in concert with Chevron Chemical Company,
                                                                    9

                                                                   10 previously known as California Chemical Company (“CHEVRON”), in the business of developing,

                                                                   11 registering, manufacturing, distributing, and selling paraquat for use as an active ingredient in
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                                                                   12 paraquat products, and developing, registering, formulating, and distributing paraquat products, for
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                                                                   13
                                                                        sale and use in the U.S., including Oregon (“the U.S. paraquat business”).
                                                                   14
                                                                                   4.       From approximately May 1964 through approximately September 1986,CHEVRON,
                                                                   15
                                                                        a predecessor of Defendants CHEVRON U.S.A., INC. (“CUSA”), was engaged, directly and/or
                                                                   16
                                                                                                4
                                                                   17 acting in concert with ICI , in all aspects of the U.S. paraquat business.

                                                                   18              5.       Between approximately May 1964 and approximately September 1986, ICI

                                                                   19 manufactured and sold to CHEVRON paraquat (“ICI CHEVRON paraquat”) for use by

                                                                   20 CHEVRON, and others to which CHEVRON distributed it, as an active ingredient in paraquat

                                                                   21

                                                                   22
                                                                        061602).
                                                                   23   2
                                                                          As used in this Complaint, “subsidiary” means a corporation or other business entity’s wholly owned subsidiary that
                                                                        is or formerly was engaged in the U.S. paraquat business directly or acting in concert with others.
                                                                   24   3
                                                                            As used in this Complaint, “predecessor” means a corporation or other business entity or subsidiary thereof, to which a
                                                                   25 Defendants is a successor by merger, continuation of business, or assumption of liabilities, that formerly was engaged in
                                                                        the U.S. paraquat business directly or acting in concert with others.
                                                                   26   4
                                                                         As used in this Complaint, “ICI” means ICI Limited and various ICI Limited subsidiaries through approximately June
                                                                        1981 and ICI PLC and various ICI PLC subsidiaries thereafter.
                                                                   27
                                                                                                                                     2
                                                                   28                                                         COMPLAINT
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                                                                        products that CHEVRON and others formulated and distributed for sale and use in the U.S., including
                                                                    1

                                                                    2 Oregon (“ICI CHEVRON paraquat products”).

                                                                    3          6.      From approximately September 1986 through the present, ICI PLC and certain ICI

                                                                    4 PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors and

                                                                    5
                                                                        certain subsidiaries of each (including predecessors of SCPLLC),and most recently SAG and certain
                                                                    6
                                                                        SAG subsidiaries (including SCPLLC), have been engaged, directly and/or acting in concert with
                                                                    7
                                                                        each other, in all aspects of the U.S. paraquat business.
                                                                    8
                                                                               7.      From approximately September 1986 through the present, ICI PLC and certain ICI
                                                                    9

                                                                   10 PLC subsidiaries (including predecessors of SCPLLC) initially, then other SAG predecessors and

                                                                   11 certain subsidiaries of each (including predecessors of SCPLLC),and most recently SAG and certain
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                                                                   12 SAG subsidiaries (including SCPLLC), have manufactured paraquat (“ICI SYNGENTA paraquat”)
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                                                                   13
                                                                        for their own use, and for use by others to which they distributed it, as an active ingredient in paraquat
                                                                   14
                                                                        products that SCPLLC and its predecessors and others have distributed for sale and use in the U.S.,
                                                                   15
                                                                        including Oregon (“ICI SYNGENTA paraquat products”).
                                                                   16

                                                                   17          8.      Upon information and belief, Plaintiff Lloyd Parsons was exposed to Defendants’

                                                                   18 paraquat products in Oregon.

                                                                   19          9.      Upon information and belief, Plaintiff Lloyd Parsons was exposed to Defendants’
                                                                   20 paraquat products while working on farms regularly and frequently over a period of many years.

                                                                   21
                                                                               10.     Today, Plaintiff Lloyd Parsons suffers from Parkinson’s disease caused by many years
                                                                   22
                                                                        of regular, frequent, prolonged exposure to paraquat from Defendants’ paraquat products.
                                                                   23
                                                                               11.     Plaintiff bring this case to recover from Defendants, under the following theories of
                                                                   24

                                                                   25 liability, compensation for injuries and damages caused by the exposure of Plaintiff Lloyd Parsons

                                                                   26 to paraquat from Defendants’ paraquat products, plus costs of suit: strict product liability—design

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                                                                        defect; strict product liability—failure to warn; negligence and willful and wanton conduct; public
                                                                    1

                                                                    2 nuisance; violation of the Oregon Unlawful Trade Practices Act California Consumer Legal

                                                                    3 Remedies Act; and breach of the implied warranty of merchantability. Plaintiff also seek punitive

                                                                    4 damages under Oregon common law and punitive damages and reasonable attorney’s fees under the

                                                                    5
                                                                        Oregon Unlawful Trade Practices Act and the California Consumer Legal Remedies Act.
                                                                    6
                                                                                 12.       All allegations contained herein are based upon information and belief and to the best
                                                                    7
                                                                        of Plaintiff’s knowledge given the information currently in Plaintiff’s possession. Plaintiff reserves
                                                                    8
                                                                        the right to amend all allegations upon continued information becoming available by discovery or
                                                                    9

                                                                   10 otherwise.

                                                                   11    II.     Parties
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                                                                                       A. Plaintiff
                               Los Angeles, California 90025




                                                                   13
                                                                                 13.       Plaintiff Lloyd Parsons is a citizen of the state of Oregon. Plaintiff resides at 1600
                                                                   14
                                                                        Rhododendron Dr., #46, Florence, Oregon 97439.
                                                                   15
                                                                                 14.       Plaintiff Lloyd Parsons was exposed to Defendants’ paraquat products while working
                                                                   16

                                                                   17 on various farms in Tangent, Oregon.

                                                                   18            15.       Upon information and belief, from 1968 to 2018, Plaintiff Lloyd Parsons was

                                                                   19 repeatedly exposed to and inhaled, ingested, and absorbed paraquat while he was mixing, loading,

                                                                   20 and, spraying Defendants’ paraquat products and while he was in fields after they were sprayed.

                                                                   21
                                                                                 16.       Upon information and belief, each exposure of Plaintiff Lloyd Parsons to paraquat
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                                                                        from Defendants’ paraquat products caused or contributed to cause Plaintiff Lloyd Parsons to
                                                                   23
                                                                        develop Parkinson’s disease, with which he was diagnosed on March 4, 2021 when he was 67 years
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                                                                   25 of age, by initiating a decades long process in which oxidation and oxidative stress, created or

                                                                   26 aggravated by the ongoing redox cycling of paraquat, damaged and interfered with essential functions

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                                                                        of dopaminergic neurons in his SNpc, resulting in the ongoing degeneration and death, as time
                                                                    1

                                                                    2 passed, of progressively more dopaminergic neurons.

                                                                    3          17.    Upon information and belief, Plaintiff Lloyd Parsons was exposed to paraquat in

                                                                    4 Defendants’ paraquat products purchased by, among others, Plaintiff Lloyd Parson’s employer.

                                                                    5
                                                                               18.    Defendants and those with whom they were acting in concert manufactured and
                                                                    6
                                                                        distributed the paraquat that was used in formulating Defendants’ paraquat products and to which
                                                                    7
                                                                        Plaintiff Lloyd Parsons was exposed, loaded, and distributed Defendants’ paraquat products that
                                                                    8
                                                                        contained the paraquat to which Plaintiff Lloyd Parsons was exposed, intending or expecting that
                                                                    9

                                                                   10 these products would be sold and used in the State of Oregon.

                                                                   11          19.    When Plaintiff Lloyd Parsons was exposed to paraquat, he neither knew nor could
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                                                                   12 have expected that paraquat was neurotoxic or that exposure to it could cause any neurological injury
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                                                                   13
                                                                        or neurodegenerative disease.
                                                                   14
                                                                               20.    When Plaintiff Lloyd Parsons was exposed to paraquat, he neither knew nor could
                                                                   15
                                                                        have expected that wearing gloves, a mask, or other personal protective equipment or taking any
                                                                   16

                                                                   17 other precautions might have prevented or reduced the risk of a neurological injury or

                                                                   18 neurodegenerative disease caused by exposure to paraquat.

                                                                   19          21.    Plaintiff Lloyd Parsons only recently, within two years of this Complaint being filed,
                                                                   20 learned that paraquat caused his injuries. Prior to this, he did not have knowledge of any facts that

                                                                   21
                                                                        would have put him on notice that his Parkinson’s Disease was due to Defendants’ product nor has
                                                                   22
                                                                        there been widespread media coverage that put him on notice.
                                                                   23
                                                                               22.    Plaintiff did not know and was unable to learn of the connection between Defendants’
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                                                                   25 product and his injuries due to the concealment of the information by Defendants and its ongoing

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                                                                        campaign stating there is no connection between paraquat and Parkinson’s Disease. See
                                                                    1

                                                                    2 www.paraquat.com.

                                                                    3                 B. Defendants

                                                                    4           23.      SCPLLC is a Delaware limited liability company with its principal place of business
                                                                    5
                                                                        in Greensboro, North Carolina. SCPLLC is a wholly owned subsidiary of Defendants SAG.
                                                                    6
                                                                                24.      SAG is a foreign corporation with its principal place of business in Basel,Switzerland.
                                                                    7
                                                                                25.      CUSA is a Pennsylvania corporation with its principal place of business in San
                                                                    8
                                                                        Ramon, California.
                                                                    9

                                                                   10 III.      Subject matter jurisdiction

                                                                   11           26.      This Court has subject matter jurisdiction over this action because diversity
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                                                                   12 jurisdiction exists under 28 U.S.C. § 1332(a)(3).
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                                                                   13
                                                                                27.      The matter in controversy exceeds the sum or value of $75,000, exclusive of interest
                                                                   14
                                                                        and costs, because Plaintiff seeks an amount that exceeds this sum or value on each of his or her
                                                                   15
                                                                        claims against each Defendant.
                                                                   16

                                                                   17           28.      Complete diversity exists because this is an action between citizens of different states

                                                                   18 in which a citizen or subject of a foreign state is an additional party, inthat:

                                                                   19                 a. Plaintiff Lloyd Parsons is a citizen of the State of Oregon;
                                                                   20                 b. SCPLLC is a citizen of the States of Delaware and North Carolina;
                                                                   21
                                                                                      c. CUSA is a citizen of the States of Pennsylvania and California; and
                                                                   22
                                                                                      d. SAG is a citizen or subject of the nation of Switzerland.
                                                                   23

                                                                   24

                                                                   25   IV.     Personal jurisdiction

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                                                                                29.      This Court has personal jurisdiction over each of the Defendants in this diversity case
                                                                    1

                                                                    2 because a state court in the State of California would have such jurisdiction under Cal. Code Civ.

                                                                    3 Proc. § 410.10, in that:

                                                                    4                 a. Over a period of two (Chevron) to six (Syngenta) decades, each Defendants and/or its
                                                                                         predecessor(s), together with those with whom they were acting in concert,
                                                                    5
                                                                                         manufactured paraquat for use as an active ingredient in paraquat products, distributed
                                                                    6                    paraquat to formulators of paraquat products, formulated paraquat products, marketed
                                                                                         paraquat products to the California agricultural community, and/or distributed
                                                                    7                    paraquat products, intending that such products regularly would be, and knowing they
                                                                                         regularly were, sold and used in the State of California;
                                                                    8

                                                                    9                 b. Plaintiff’ claims against each Defendants arise out of these contacts between the
                                                                                         Defendants and/or its predecessor(s), together with those with whomthey were acting
                                                                   10                    in concert, with the State of California; and
                                                                   11                 c. These contacts between each Defendants and/or its predecessors, together with those
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                                                                                         with whom they were acting in concert, and the State of California, were so regular,
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                                                                   12
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                                                                                         frequent, and sustained as to provide fair warning that it might be hauled into court
                               Los Angeles, California 90025




                                                                   13                    there, such that requiring it to defend this action in the State of California does not
                                                                                         offend traditional notions of fair play and substantial justice.
                                                                   14
                                                                         V.     Venue
                                                                   15

                                                                   16           30.      Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part

                                                                   17 of the events or omissions giving rise to the claim occurred in this district, in that Plaintiff’ claims

                                                                   18 arise from injuries caused by the exposure of Plaintiff Lloyd Parsons to paraquat from paraquat

                                                                   19
                                                                        products that were controlled, managed, marketed, developed as described below from this District.
                                                                   20
                                                                        VI.     Allegations common to all causes of action
                                                                   21
                                                                                      A. Defendants and their predecessors
                                                                   22

                                                                   23                      1.     Syngenta Crop Protection LLC and Syngenta AG

                                                                   24           31.      SAG is the successor in interest to the crop protection business of each of its

                                                                   25 predecessors, AstraZeneca PLC (“AstraZeneca”), Zeneca Group PLC (“Zeneca Group”), ICI PLC,

                                                                   26

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                                                                        ICI Limited, and Plant Protection Limited (“PP Limited”) and their respective crop protection
                                                                    1

                                                                    2 subsidiaries (collectively, “SAG’s predecessors”), in that:

                                                                    3                a. SAG, and each of SAG’s predecessors, was the result of a corporate name change by,
                                                                                        de facto consolidation or merger of, or mere continuation of, its immediate
                                                                    4                   predecessor(s); and/or
                                                                    5
                                                                                     b. SAG has expressly or impliedly agreed to assume any liability on claims arising from
                                                                    6                   the historical operation of the crop protection business of each of SAG’s
                                                                                        predecessors
                                                                    7
                                                                               32.      SCPLLC is the successor in interest to the crop protection business of each of its
                                                                    8
                                                                        predecessors, Syngenta Crop Protection, Inc. (“SCPI”), Zeneca Ag Products, Inc. (“Zeneca Ag”),
                                                                    9

                                                                   10 Zeneca, Inc. (“Zeneca”), ICI Americas, Inc. (“ICIA”), ICI United States, Inc. (“ICI US”), and ICI

                                                                   11 America Inc. (“ICI America”) (collectively, “SCPLLC’s predecessors”), in that:
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                                                                                     a. SCPLLC, and each of SCPLLC’s predecessors, was the result of a corporate name
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                                                                                        change by, de facto consolidation or merger of, or mere continuation of, its immediate
                                                                   13
                                                                                        predecessor(s); and/or
                                                                   14
                                                                                     b. SCPLLC has expressly or impliedly agreed to assume any liability on claims arising
                                                                   15                   from the historical operation of the crop protection business ofeach of SCPLLC’s
                                                                   16                   predecessors.

                                                                   17          33.      At all relevant times, SCPLLC, SCPI, Zeneca Ag, Zeneca, ICIA, ICI US, and/or ICI

                                                                   18 America was a wholly owned U.S. crop protection subsidiary of SAG or a predecessor of SAG.

                                                                   19
                                                                               34.      At all relevant times, PP Limited was a wholly owned U.K. crop             protection
                                                                   20
                                                                        subsidiary of ICI Limited, an unincorporated division of ICI Limited, or an unincorporated division
                                                                   21
                                                                        of ICI PLC.
                                                                   22
                                                                               35.      At all relevant times, SAG and its predecessors exercised a degree of control over
                                                                   23

                                                                   24 their crop protection subsidiaries so unusually high that these subsidiarieswere their agents or alter

                                                                   25 egos.

                                                                   26

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                                                                    2                    2.     Chevron U.S.A., Inc.

                                                                    3          36.      CUSA is the successor in interest to CHEVRON’s crop protection business, in that
                                                                    4
                                                                        it has expressly assumed any liability on claims arising from thehistorical operation of that business.
                                                                    5
                                                                                     B. Defendants’ and their predecessors’ involvement in the U.S. paraquatbusiness
                                                                    6
                                                                               37.      ICI Limited discovered the herbicidal properties of paraquat in the mid         1950s;
                                                                    7

                                                                    8 developed herbicide formulations containing paraquat as an active ingredient inthe early 1960s; and

                                                                    9 produced the first commercial paraquat formulation, which it registered it in England and introduced

                                                                   10 in certain markets under the brand name GRAMOXONE®, in 1962.

                                                                   11
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                                                                               38.      ICI Limited was awarded a U.S. patent on herbicide formulationscontaining paraquat
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                                                                   12
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                                                                        as an active ingredient in 1962.
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                                                                   13
                                                                               39.      In May 1964, ICI Limited, PP Limited, and CHEVRON entered into anagreement for
                                                                   14
                                                                        the distribution of paraquat in the U.S. and the licensing of certain paraquat related patents, trade
                                                                   15

                                                                   16 secrets, and other intellectual property (“paraquat licensing and distribution agreement”).

                                                                   17          40.      As a result of the May 1964 paraquat licensing and distribution agreement, paraquat
                                                                   18 became commercially available for use in the U.S. in or about 1965.

                                                                   19
                                                                               41.      In April 1975, ICI Limited, ICI US, and CHEVRON entered into a new paraquat
                                                                   20
                                                                        licensing and distribution agreement that superseded the May 1964 agreement.
                                                                   21
                                                                               42.      In November 1981, ICIA, CHEVRON, and ICI PLC entered into a new paraquat
                                                                   22

                                                                   23 licensing and distribution agreement, effective January 1982, which superseded in part and amended

                                                                   24 in part the April 1975 agreement.

                                                                   25

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                                                                               43.      From approximately May 1964 through approximately September 1986, pursuant to
                                                                    1

                                                                    2 these paraquat licensing and distribution agreements, ICI and CHEVRON acted in concert in all

                                                                    3 aspects of the U.S. paraquat business.

                                                                    4          44.      In September 1986, ICI and CHEVRON entered into an agreement terminating their
                                                                    5
                                                                        paraquat licensing and distribution agreement.
                                                                    6
                                                                               45.      Under the September 1986 termination agreement, ICI paid CHEVRON for the early
                                                                    7
                                                                        termination of CHEVRON’s rights under their paraquat licensing and distribution agreement.
                                                                    8
                                                                               46.      Although the September 1986 termination agreement gave ICI the right to buy, or
                                                                    9

                                                                   10 exchange for ICI labeled paraquat products, CHEVRON labeled paraquat products that

                                                                   11 CHEVRON had already sold to its distributors, CHEVRON labeled paraquat products continued to
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                                                                   12 be sold for use in the U.S. after this agreement for some period of time unknown to Plaintiff.
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                                                                   13
                                                                               47.      SAG, SAG’s predecessors, and subsidiaries of SAG and its predecessors (collectively,
                                                                   14
                                                                        “SYNGENTA”), have at all relevant times manufactured more paraquat used as an active ingredient
                                                                   15
                                                                        in paraquat products formulated and distributed for sale and use in the U.S., including Oregon, than
                                                                   16

                                                                   17 all other paraquat manufacturers combined.

                                                                   18          48.      From the mid 1960s through at least 1986, SYNGENTA (as ICI) was the only

                                                                   19 manufacturer of paraquat used as an active ingredient in paraquat products formulated and distributed

                                                                   20 for sale and use in the U.S., including Oregon.

                                                                   21
                                                                               49.      From approximately September 1986 through the present, SYNGENTA has:
                                                                   22
                                                                                     a. manufactured paraquat for use as an active ingredient in paraquat products formulated
                                                                   23                   and distributed for sale and use in the U.S., including Oregon;
                                                                   24                b. distributed paraquat for use as an active ingredient in paraquat products formulated
                                                                   25                   and distributed for sale and use in the U.S., including Oregon;

                                                                   26                c. formulated paraquat products distributed for sale and use in the U.S., including
                                                                                        Oregon; and
                                                                   27
                                                                                                                         10
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                                                                    1                d. distributed paraquat products for sale and use in the U.S., including Oregon.
                                                                    2

                                                                    3

                                                                    4                C. The use of paraquat products and Defendants’ knowledge thereof
                                                                    5          50.      Defendants’ paraquat products have been used in the U.S. to kill broadleafweeds and
                                                                    6
                                                                        grasses before the planting or emergence of more than 100 field, fruit, vegetable, and plantation
                                                                    7
                                                                        crops, to control weeds in orchards, and to desiccate (dry) plants before harvest. At all relevant times,
                                                                    8
                                                                        the use of Defendants’ paraquat products for these purposes was intended or directed by or reasonably
                                                                    9

                                                                   10 foreseeable to, and wasknown to or foreseen by, SYNGENTA and CHEVRON.

                                                                   11          51.      Defendants’ paraquat products were commonly used multiple times per year on the
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                                                                   12 same ground, particularly when used to control weeds in orchards and in farm fields where multiple
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                                                                   13 crops are planted in the same growing season or year. At all relevant times, the use of Defendants’

                                                                   14
                                                                        paraquat products in this manner was intended or directed by or reasonably foreseeable to, and was
                                                                   15
                                                                        known to or foreseen by, SYNGENTA and CHEVRON.
                                                                   16
                                                                               52.      Defendants’ paraquat products were typically sold to end users in the form of liquid
                                                                   17

                                                                   18 concentrates that were then diluted with water in the tank of a sprayer and applied by spraying the

                                                                   19 diluted product onto target weeds. At all relevant times, the use of Defendants’ paraquat products in

                                                                   20 this manner was intended or directed by or reasonably foreseeable to, and was known to or foreseen

                                                                   21
                                                                        by, SYNGENTA and CHEVRON.
                                                                   22
                                                                               53.      Defendants’ paraquat products were typically formulated with a surfactant or
                                                                   23
                                                                        surfactants, and/or a surfactant, surfactant product, or “crop oil,” which typically contains one or
                                                                   24
                                                                        more surfactants, was commonly added by users of Defendants’ products, to increase the ability of
                                                                   25

                                                                   26 paraquat to stay in contact with and penetrate the leaves of target plants and enter plant cells. At all

                                                                   27
                                                                                                                          11
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                                                                        relevant times, the use of Defendants’ paraquat products as so formulated and/or with such substances
                                                                    1

                                                                    2 added was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,

                                                                    3 SYNGENTA and CHEVRON.

                                                                    4          54.      Knapsack sprayers, hand held sprayers, aircraft (i.e., crop dusters), trucks with
                                                                    5
                                                                        attached pressurized tanks, and tractor drawn pressurized tanks, were commonly used to apply
                                                                    6
                                                                        Defendants’ paraquat products. At all relevant times, the use of such equipment for that purpose was
                                                                    7
                                                                        intended or directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA
                                                                    8
                                                                        and CHEVRON.
                                                                    9

                                                                   10                D. Exposure to paraquat and Defendants’ knowledge thereof

                                                                   11          55.      When Defendants’ paraquat products were used in a manner that was intended and
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                                                                   12 directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and
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                                                                   13
                                                                        CHEVRON, persons who used them and others nearby were commonly exposed to paraquat while
                                                                   14
                                                                        it was being mixed and loaded into the tanks of sprayers, including as a result of spills, splashes, and
                                                                   15
                                                                        leaks. At all relevant times, it was reasonably foreseeable to, and known to or foreseen by,
                                                                   16

                                                                   17 SYNGENTA and CHEVRON that such exposure commonly would and did occur and would and did

                                                                   18 create a substantial risk of harm to the persons exposed.

                                                                   19          56.      When Defendants’ paraquat products were used in a manner that was intended and
                                                                   20 directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and

                                                                   21
                                                                        CHEVRON, persons who sprayed them, and others nearby while they were being sprayed or when
                                                                   22
                                                                        they recently had been sprayed, commonly were exposed to paraquat, including as a result of spray
                                                                   23
                                                                        drift (the movement of herbicide spray droplets from the target area to an area where herbicide
                                                                   24

                                                                   25 application was not intended, typically by wind), contact with sprayed plants and being exposed by

                                                                   26 paraquat that was absorbed into the soil and ground water and wells. At all relevant times, it was

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                                                                        reasonably foreseeable to, and known to or foreseen by, SYNGENTA and CHEVRON, that such
                                                                    1

                                                                    2 exposure commonly would and did occur and would and did create a substantial risk of harm to the

                                                                    3 persons exposed.

                                                                    4          57.     When Defendants’ paraquat products were used in a manner that was intended and
                                                                    5
                                                                        directed by or reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and
                                                                    6
                                                                        CHEVRON, persons who used them and other persons nearby commonly were exposed to paraquat,
                                                                    7
                                                                        including as a result of spills, splashes, and leaks, while equipment used to spray it was being emptied
                                                                    8
                                                                        or cleaned or clogged spray nozzles, lines, or valves were being cleared. At all relevant times, it was
                                                                    9

                                                                   10 reasonably foreseeable to, and was known to or foreseen by, SYNGENTA and CHEVRON that such

                                                                   11 exposure commonly would and did occur and would and did create a substantial risk of harm to the
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                                                                   12 persons exposed.
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                                                                   13
                                                                               58.     At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                   14
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                   15
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                   16

                                                                   17 SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat could and

                                                                   18 did enter the human body via absorption through or penetration of the skin, mucous membranes, and

                                                                   19 other epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and

                                                                   20 conducting airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage was

                                                                   21
                                                                        present, and that paraquat that entered the human body in one or more of these ways would and did
                                                                   22
                                                                        create a substantial risk of harm to people so exposed.
                                                                   23
                                                                               59.     At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                   24

                                                                   25 by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner

                                                                   26 that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,

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                                                                        SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat could and
                                                                    1

                                                                    2 did enter the human body via respiration into the lungs, including the deep parts of the lungs where

                                                                    3 respiration (gas exchange) occurs, and that paraquat that entered the human body in this way would

                                                                    4 and did create a substantial risk of harm to people so exposed.

                                                                    5
                                                                               60.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                    6
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                    7
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                    8
                                                                        SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat could and
                                                                    9

                                                                   10 did enter the human body via ingestion into the digestive tract of small droplets swallowed after

                                                                   11 entering the mouth, nose, or conducting airways, and that paraquat that entered the human body in
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                                                                   12 this way would and did create a substantial risk of harm to people so exposed.
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                                                                   13
                                                                               61.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
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                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                   15
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                   16

                                                                   17 SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat that entered

                                                                   18 the human body via ingestion into the digestive tract could and did enter the enteric nervous system

                                                                   19 (the part of the nervous system that governs the function of the gastrointestinal tract), and that

                                                                   20 paraquat that entered the enteric nervous system would and did create a substantial risk of harm to

                                                                   21
                                                                        people so exposed.
                                                                   22
                                                                               62.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                   23
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
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                                                                   25 that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,

                                                                   26 SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat that entered

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                                                                        the human body, whether via absorption, respiration, or ingestion, could and did enter the
                                                                    1

                                                                    2 bloodstream, and that paraquat that entered the bloodstream would and did create a substantial risk

                                                                    3 of harm to people so exposed.

                                                                    4          63.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                    5
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                    6
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                    7
                                                                        SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat that entered
                                                                    8
                                                                        the bloodstream could and did enter the brain, whether through the blood brain barrier or parts of
                                                                    9

                                                                   10 the brain not protected by the blood brain barrier, and that paraquat that entered the brain would

                                                                   11 and did create a substantial risk of harm to people so exposed.
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                                                                   12
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                                                                               64.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
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                                                                   13
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                   14
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
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                                                                        SYNGENTA and CHEVRON, and people were exposed to paraquat as a result, paraquat that entered
                                                                   16

                                                                   17 the nose and nasal passages could and did enter the brain through the olfactory bulb (a part of the

                                                                   18 brain involved in the sense of smell), which is not protected by the blood brain barrier, and that

                                                                   19 paraquat that entered the olfactory bulb would and did create a substantial risk of harm to people so

                                                                   20 exposed.

                                                                   21
                                                                               65.    At all relevant times, it was reasonably foreseeable to, and was known to or foreseen
                                                                   22
                                                                        by, SYNGENTA and CHEVRON that when Defendants’ paraquat products were used in a manner
                                                                   23
                                                                        that was intended and directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                   24

                                                                   25 SYNGENTA and CHEVRON, and people were exposed to paraquat products that contained

                                                                   26 surfactants or had surfactants added to them, the surfactants would and did increase the toxicity of

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                                                                        paraquat toxicity to humans by increasing its ability to stay in contact with or penetrate cells and
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                                                                    2 cellular structures, including but not limited to the skin, mucous membranes, and other epithelial and

                                                                    3 endothelial tissues, including tissues of the mouth, nose and nasal passages, trachea, conducting

                                                                    4 airways, lungs, gastrointestinal tract, blood brain barrier, and neurons, and that this would and did

                                                                    5
                                                                        increase the already substantial risk of harm to people so exposed.
                                                                    6
                                                                                     E. Parkinson’s disease
                                                                    7
                                                                               66.      Parkinson’s disease is a progressive neurodegenerative disorder of the brain that
                                                                    8
                                                                        affects primarily the motor system, the part of the central nervous system thatcontrols movement.
                                                                    9

                                                                   10          67.      The characteristic symptoms of Parkinson’s disease are its “primary” motor

                                                                   11 symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness
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                                                                   12 in voluntary movement and reflexes), rigidity (stiffness and resistance to passive movement), and
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                                                                   13
                                                                        postural instability (impaired balance).
                                                                   14
                                                                               68.      Parkinson’s disease’s primary motor symptoms often result in “secondary” motor
                                                                   15
                                                                        symptoms such as freezing of gait; shrinking handwriting; mask             like expression; slurred,
                                                                   16

                                                                   17 monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

                                                                   18 swallowing; and excess saliva and drooling caused by reduced swallowing movements.

                                                                   19          69.      Non motor symptoms—such as loss of or altered sense of smell; constipation; low
                                                                   20 blood pressure on rising to stand; sleep disturbances; and depression—are present in most cases of

                                                                   21
                                                                        Parkinson’s disease, often for years before any of the primary motor symptoms appear.
                                                                   22
                                                                               70.      There is currently no cure for Parkinson’s disease; no treatment will stop or reverse
                                                                   23
                                                                        its progression, and the treatments most commonly prescribed for its motor symptoms tend to become
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                                                                   25 progressively less effective, and to cause unwelcome side effects, the longer they are used.

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                                                                               71.      The selective degeneration and death of dopaminergic neurons (dopamine producing
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                                                                    2 nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”) is one of the

                                                                    3 primary pathophysiological hallmarks of Parkinson’s disease.

                                                                    4          72.      Dopamine is a neurotransmitter (a chemical messenger that transmits signals from one
                                                                    5
                                                                        neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of motor
                                                                    6
                                                                        function (among other things).
                                                                    7
                                                                               73.      The death of dopaminergic neurons in the SNpc decreases the production of
                                                                    8
                                                                        dopamine.
                                                                    9

                                                                   10          74.      Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

                                                                   11 neurons have died, dopamine production falls below the level the brain requires for proper control of
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                                                                   12 motor function, resulting in the motor symptoms of Parkinson’s disease.
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                                                                   13
                                                                               75.      The presence of Lewy bodies (insoluble aggregates of a protein called alpha
                                                                   14
                                                                        synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary
                                                                   15
                                                                        pathophysiological hallmarks of Parkinson’s disease.
                                                                   16

                                                                   17          76.      Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

                                                                   18 in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

                                                                   19          77.      Scientists who study Parkinson’s disease generally agree that oxidative stress is a
                                                                   20 major factor in—if not the precipitating cause of—the degeneration and death of dopaminergic

                                                                   21
                                                                        neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons
                                                                   22
                                                                        that are the primary pathophysiological hallmarks of Parkinson’s disease.
                                                                   23
                                                                                     F. Paraquat’s toxicity
                                                                   24

                                                                   25          78.      Paraquat is highly toxic to both plants and animals because it causes andcontributes

                                                                   26 to cause the degeneration and death of living cells in both plants and animals.

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                                                                               79.     Paraquat causes and contributes to cause the degeneration and death of plant and
                                                                    1

                                                                    2 animal cells both directly, through oxidation, and indirectly, through oxidative stress created or

                                                                    3 aggravated by the “redox cycling” of paraquat; these processes damage lipids, proteins, and nucleic

                                                                    4 acids, molecules that are essential components of the structures and functions of living cells, and

                                                                    5
                                                                        interfere with cellular functions—in plant cells, with photosynthesis, and in animal cells, with cellular
                                                                    6
                                                                        respiration—that are essential to cellular health.
                                                                    7
                                                                               80.     In both plant and animal cells, paraquat undergoes redox cycling that creates or
                                                                    8
                                                                        aggravates oxidative stress because of the “redox properties” inherent in paraquat’s chemical
                                                                    9

                                                                   10 composition and structure: paraquat is both a strong oxidant and has a high propensity to undergo

                                                                   11 redox cycling, and to do so repeatedly, in the presence of a suitable reductant and molecular oxygen,
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                                                                   12 both of which are present in all living cells.
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                                                                   13
                                                                               81.     The redox cycling of paraquat in living cells creates a “reactive oxygen species”
                                                                   14
                                                                        known as superoxide radical, an extremely reactive molecule that can and often does initiate a
                                                                   15
                                                                        cascading series of chemical reactions that can and often do create other reactive oxygen species that
                                                                   16

                                                                   17 damage lipids, proteins, and nucleic acids, molecules that are essential components of the structures

                                                                   18 and functions of living cells.

                                                                   19          82.     Because the redox cycling of paraquat can repeat indefinitely in the conditions
                                                                   20 typically present in living cells, a single molecule of paraquat can trigger the production of countless

                                                                   21
                                                                        molecules of destructive superoxide radical. After even a tiny amount of paraquat enters the human
                                                                   22
                                                                        brain, paraquat molecules continue to undergo redox cycling and continue to cause damage to human
                                                                   23
                                                                        brain cells. This repeated cyclingcontinues in the presence of oxygen and continues to cause the death
                                                                   24

                                                                   25 of dopaminergic neurons, eventually resulting in the onset of Parkinson’s disease. However, even

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                                                                        after the onset of Parkinson’s disease, the redox cycling continues to cause brain cell damage and
                                                                    1

                                                                    2 death for as long as the victim lives.

                                                                    3          83.      The oxidation and redox potentials of paraquat have been known to science since at

                                                                    4 least the 1930s, and in the exercise of ordinary care should have been known, and were known, to

                                                                    5
                                                                        SYNGENTA and CHEVRON at all relevant times.
                                                                    6
                                                                               84.      That paraquat is highly toxic to all living cells—both plant cells and all types of animal
                                                                    7
                                                                        cells—has been known to science since at least the mid 1960s, and in the exercise of ordinary care
                                                                    8
                                                                        should have been known, and was known, to SYNGENTA and CHEVRON at all relevant times.
                                                                    9

                                                                   10          85.      The high toxicity of paraquat to living cells of all types creates a substantial risk of

                                                                   11 harm to persons exposed to paraquat, which SYNGENTA and CHEVRON should have known in
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                                                                   12 the exercise of ordinary care, and did know, at all relevant times.
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                                                                   13
                                                                               86.      The same oxidation and redox potentials that make paraquat highly toxic to plant cells
                                                                   14
                                                                        and other types of animal cells make paraquat highly toxic to nerve cells, including dopaminergic
                                                                   15
                                                                        neurons, and create a substantial risk of neurotoxic harm to persons exposed to paraquat.
                                                                   16

                                                                   17 SYNGENTA and CHEVRON should have known this in the exercise of ordinary care, and did know

                                                                   18 this, at all relevant times.

                                                                   19                G. Paraquat and Parkinson’s disease
                                                                   20          87.      The scientific community overwhelmingly agrees that paraquat causes Parkinson’s
                                                                   21
                                                                        disease.
                                                                   22
                                                                               88.      Although Parkinson’s disease is not known to occur naturally in any species other
                                                                   23
                                                                        than humans, Parkinson’s disease research is often performed using “animal models,” in which
                                                                   24

                                                                   25 scientists artificially produce in laboratory animals’ conditions that show features characteristic of

                                                                   26 Parkinson’s disease in humans.

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                                                                               89.      Paraquat is one of only a handful of toxins that scientists use to produce animal models
                                                                    1

                                                                    2 of Parkinson’s disease.

                                                                    3          90.      In animal models of Parkinson’s disease, hundreds of studies involving various routes

                                                                    4 of exposure have found that paraquat causes the degeneration and death of dopaminergic neurons in

                                                                    5
                                                                        the SNpc, other pathophysiology consistent with that seen in human Parkinson’s disease, and motor
                                                                    6
                                                                        deficits and behavioral changes consistent with those commonly seen in human Parkinson’s disease.
                                                                    7
                                                                               91.      Hundreds of in vitro studies (experiments in a test tube, culture dish, or other
                                                                    8
                                                                        controlled experimental environment) have found that paraquat causes the degeneration and death of
                                                                    9

                                                                   10 dopaminergic neurons.

                                                                   11          92.      Many epidemiological studies (studies of the patterns and causes of disease in defined
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                                                                   12 populations) have found an association between paraquat exposure and Parkinson’s disease,
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                                                                   13
                                                                        including multiple studies finding a two    to five fold or greater increase in the risk of Parkinson’s
                                                                   14
                                                                        disease in populations with occupationalexposure to paraquat compared to populations without such
                                                                   15
                                                                        exposure.
                                                                   16

                                                                   17                H. Paraquat regulation

                                                                   18          93.      The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136

                                                                   19 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires that

                                                                   20 pesticides be registered with the EPA prior to their distribution,sale, or use, except as described by

                                                                   21
                                                                        FIFRA. 7 U.S.C. 136a(a).
                                                                   22
                                                                               94.      As part of the pesticide registration process, the EPA requires, among other things, a
                                                                   23
                                                                        variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other
                                                                   24

                                                                   25 potential non target organisms, and other adverse effectson the environment.

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                                                                               95.      As a general rule, FIFRA requires registrants—not the EPA—to perform health and
                                                                    1

                                                                    2 safety testing of pesticides, and the EPA generally does not perform such testing.

                                                                    3          96.      The EPA registers (or re registers) a pesticide if it believes, based largely on studies

                                                                    4 and data submitted by the registrant, that:

                                                                    5
                                                                                     a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
                                                                    6                   136a(c)(5)(A);

                                                                    7                b. its labeling and other material required to be submitted comply with the requirements
                                                                                        of FIFRA, 7 U.S.C. § 136a(c)(5)(B);
                                                                    8
                                                                                     c. it will perform its intended function without unreasonable adverse effects on the
                                                                    9
                                                                                        environment, 7 U.S.C. § 136a(c)(5)(C); and
                                                                   10
                                                                                     d. when used in accordance with widespread and commonly recognized practice it will
                                                                   11                   not generally cause unreasonable adverse effects on the environment, 7 U.S.C. §
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                                                                                        136a(c)(5)(D).
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                                                                   13          97.      FIFRA defines “unreasonable adverse effects on the environment” as “any

                                                                   14 unreasonable risk to man or the environment, taking into account the economic, social, and

                                                                   15 environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

                                                                   16
                                                                               98.      Under FIFRA, “As long as no cancellation proceedings are in effect registration of a
                                                                   17
                                                                        pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply with the
                                                                   18
                                                                        registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).
                                                                   19

                                                                   20          99.      However, FIFRA further provides that “In no event shall registration of an article be

                                                                   21 construed as a defense for the commission of any offense under [FIFRA].”

                                                                   22    7 U.S.C. § 136a(f)(2).
                                                                   23

                                                                   24          100.     FIFRA further provides that “…it shall be unlawful for any person in any State to

                                                                   25 distribute or sell to any person… any pesticide which is… misbranded.”

                                                                   26    7 U.S.C. § 136j(a)(1)(E).
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                                                                    1
                                                                               101.    A pesticide is misbranded under FIFRA if, among other things:
                                                                    2
                                                                                   a. its labeling bears any statement, design, or graphic representation relative thereto or
                                                                    3                 to its ingredients which is false or misleading in any particular, 7 U.S.C. §
                                                                                      136(q)(1)(A);
                                                                    4

                                                                    5              b. the labeling accompanying it does not contain directions for use which are necessary
                                                                                      for effecting the purpose for which the product is intended and if complied with,
                                                                    6                 together with any requirements imposed under section 136a(d) of this title, are
                                                                                      adequate to protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or
                                                                    7
                                                                                   c. the label does not contain a warning or caution statement which may be necessary and
                                                                    8
                                                                                      if complied with, together with any requirements imposed under section 136a(d) of
                                                                    9                 this title, is adequate to protect health and the environment,” 7 U.S.C. § 136(q)(1)(G).

                                                                   10          102.    Plaintiff do not seek in this action to impose on Defendants any labeling or packaging
                                                                   11 requirement in addition to or different from those required under FIFRA; accordingly, any allegation
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                                                                   12
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                                                                        in this complaint that a Defendants breached a duty to provide adequate directions for the use of
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                                                                   13
                                                                        paraquat or warnings about paraquat, breached a duty to provide adequate packaging for paraquat,
                                                                   14
                                                                        or concealed, suppressed, or omitted to disclose any material fact about paraquat or engaged in any
                                                                   15

                                                                   16 unfair or deceptive practice regarding paraquat, is intended and should be construed to be consistent

                                                                   17 with that alleged breach, concealment, suppression, or omission, or unfair or deceptive practice,

                                                                   18 having rendered the paraquat “misbranded” under FIFRA.

                                                                   19          103.    Plaintiff brings claims and seek relief in this action only under state law. Plaintiff do
                                                                   20
                                                                        not bring any claims or seek any relief in this action under FIFRA.
                                                                   21

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                                                                        VII.       Allegations common to specific causes of action5
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                                                                    2                   A. Strict product liability – design defect

                                                                    3              104.     At all relevant times, Defendants and those with whom they were acting in concert

                                                                    4 were engaged in business of designing, manufacturing, and selling paraquat within the U.S.

                                                                    5
                                                                                   105.     At all relevant times, Defendants and those with whom they were acting in concert
                                                                    6
                                                                        intended and expected that Defendants’ paraquat products6 would be sold and used in the States of
                                                                    7
                                                                        Oregon.
                                                                    8
                                                                                   106.     Defendants and those with whom they were acting in concert developed, registered,
                                                                    9

                                                                   10 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

                                                                   11 and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use
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                                                                   12 in the U.S., including Oregon.
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                                                                   13
                                                                                   107.     Upon information and belief, for many years, Plaintiff used Defendants’ paraquat
                                                                   14
                                                                        products in Oregon and repeatedly and regularly for hours at a time, resulting in the repeated, regular,
                                                                   15
                                                                        and prolonged exposure of Plaintiff to paraquat.
                                                                   16

                                                                   17              108.     At all relevant times, Defendants’ paraquat products were in a defective condition that

                                                                   18 made them unreasonably dangerous when used in a manner that was intended or directed by or

                                                                   19

                                                                   20

                                                                   21
                                                                        5
                                                                            When used in an allegation in section VII or VIII of this Complaint, where the name of the party is not specified: (1)
                                                                   22 “Defendant” refers to the Defendants or Defendants from whom relief is sought in the Count in which the allegation
                                                                        appears or is incorporated and/or the predecessors of that Defendants or those Defendants; and (2) “Plaintiff” refers: (a)
                                                                   23 to the Plaintiff seeking relief in the Count in which the allegation appears or is incorporated, where the Count seeks
                                                                        damages for personal injuries; or (b) to the spouses of the Plaintiff seeking relief in the Count in which the allegation
                                                                   24   appears or is incorporated, where the Count seeks damages for loss of society or consortium.
                                                                        6
                                                                            When used in an allegation in section VII or VIII of this Complaint, “Defendants’ paraquat products”: (1) refers to ICI
                                                                   25 CHEVRON paraquat products and/or ICI SYNGENTA paraquat products when theallegation appears or is incorporated
                                                                        in a Count directed to SCPLLC and SAG; refers only to ICI CHEVRON paraquat products when the allegation appears
                                                                   26 or is incorporated in a Count directed to CUSA.

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                                                                        reasonably foreseeable to, and was known to or foreseen by, Defendants and those with whom they
                                                                    1

                                                                    2 were acting in concert, in that:

                                                                    3              a. they were designed, manufactured, formulated, and packaged such that when so used,
                                                                                      paraquat was likely to be inhaled, ingested, and absorbed into the bodies of persons
                                                                    4                 who used them, were nearby while they were being used, or entered fields or orchards
                                                                                      where they had been sprayed or areas near where they had been sprayed; and
                                                                    5

                                                                    6              b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
                                                                                      nearby while they were being used, or entered fields or orchards where they had been
                                                                    7                 sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                                      contribute to cause latent, permanent, and cumulative neurological damage, and
                                                                    8                 repeated exposures were likely to cause or contribute to cause clinically significant
                                                                                      neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                    9
                                                                                      manifest long after exposure.
                                                                   10
                                                                               109.    At all relevant times, this defective condition in Defendants’ paraquat products existed
                                                                   11
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                                                                        when they left the control of Defendants and those with whom they were acting in concert and were
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                                                                        placed into the stream of commerce.
                                                                   13

                                                                   14          110.    At all relevant times, Defendants and those with whom they were acting in concert

                                                                   15 knew or foresaw that this defective condition of Defendants’ paraquat products would create a

                                                                   16 substantial risk of harm to persons who used them, were nearby while they were being used, or

                                                                   17
                                                                        entered fields or orchards where they had been sprayed or areas near where they had been sprayed,
                                                                   18
                                                                        but in conscious disregard for the safety of others, including Plaintiff, continued to place them into
                                                                   19
                                                                        the stream of commerce.
                                                                   20

                                                                   21          111.    As a result of this defective condition, Defendants’ paraquat products either failed to

                                                                   22 perform in the manner reasonably to be expected in light of their nature and intended function, or the

                                                                   23 magnitude of the dangers outweighed their utility.

                                                                   24          112.    At all relevant times, Defendants’ paraquat products were used in a manner that was
                                                                   25
                                                                        intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants
                                                                   26
                                                                        and those with whom they were acting in concert.
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                                                                               113.    At all relevant times, Defendants concealed the defective condition of their product
                                                                    1

                                                                    2 from Plaintiff thus preventing Plaintiff from discovering the causal link between their injury and

                                                                    3 paraquat.

                                                                    4              B. Strict product liability – Failure to warn
                                                                    5
                                                                               114.    At all relevant times, Defendants and those with whom they were acting inconcert
                                                                    6
                                                                        were engaged in the U.S. paraquat business.
                                                                    7
                                                                               115.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                    8
                                                                        intended and expected that Defendants’ paraquat products would be sold andused in the State of
                                                                    9

                                                                   10 Oregon.

                                                                   11          116.    Defendants and those with whom they were acting in concert developed, registered,
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                                                                   12 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,
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                                                                   13
                                                                        and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use
                                                                   14
                                                                        in the U.S., including Oregon.
                                                                   15
                                                                               117.    Upon information and belief, for many years, Plaintiff used Defendants’ paraquat
                                                                   16

                                                                   17 products in Oregon repeatedly and regularly for hours at a time, resulting in the repeated, regular,

                                                                   18 and prolonged exposure of Plaintiff to paraquat.

                                                                   19          118.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                   20 should have known in the exercise of ordinary care, and did know, that when used in a manner that

                                                                   21
                                                                        was intended or directed by or reasonably foreseeable to, and was known to or foreseen by,
                                                                   22
                                                                        Defendants and those with whom it was acting in concert:
                                                                   23
                                                                                   a. Defendants’ paraquat products were designed, manufactured, formulated, and
                                                                   24                 packaged such that when so used, paraquat was likely to be inhaled, ingested, and
                                                                   25                 absorbed into the bodies of persons who used them, were nearby while they were
                                                                                      being used, or entered fields or orchards where they had been sprayed or areas near
                                                                   26                 where they had been sprayed; and

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                                                                                   b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
                                                                    1                 nearby while they were being used, or entered fields or orchards where they had been
                                                                    2                 sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                                      contribute to cause latent, cumulative, and permanent neurological damage, and
                                                                    3                 repeated exposures were likely to cause or contribute to cause clinically significant
                                                                                      neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                    4                 manifest long after exposure.
                                                                    5
                                                                               119.    At all relevant times, Defendants’ paraquat products were in a defective condition that
                                                                    6
                                                                        made them unreasonably dangerous when used in a manner that was intended or directed by or
                                                                    7
                                                                        reasonably foreseeable to, and was known to or foreseen by, Defendants and those with whom they
                                                                    8
                                                                        were acting in concert, in that:
                                                                    9

                                                                   10              a. they were not accompanied by directions for use that would have made paraquat
                                                                                      unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used
                                                                   11                 them, were nearby while they were being used, or entered fields or orchards where
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                                                                                      they had been sprayed or areas near where they had been sprayed; and
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                                                                                   b. they were not accompanied by a warning that when inhaled, ingested, or absorbed
                                                                   13
                                                                                      into the bodies of persons who used them, were nearby while they were being used,
                                                                   14                 or entered fields or orchards where they had been sprayed or areas near where they
                                                                                      had been sprayed, paraquat was likely to cause or contribute to cause latent,
                                                                   15                 cumulative, and permanent neurological damage, and that repeated exposures were
                                                                                      likely to cause or contribute to cause clinically significant neurodegenerative disease,
                                                                   16                 including Parkinson’s disease, to develop over time and manifest long after exposure.
                                                                   17
                                                                               120.    At all relevant times, this defective condition in Defendants’ paraquat products existed
                                                                   18
                                                                        when they left the control of Defendants and those with whom they were acting in concert and were
                                                                   19
                                                                        placed into the stream of commerce.
                                                                   20

                                                                   21          121.    At all relevant times, Defendants and those with whom it was acting in concert knew

                                                                   22 this defective condition of Defendants’ paraquat products created a substantial risk of harm to persons

                                                                   23 who used them, were nearby while they were being used, or entered fields or orchards where they

                                                                   24 had been sprayed or areas near where they had been sprayed, but in conscious disregard for the safety

                                                                   25
                                                                        of others, including Plaintiff, continued to place them into the stream of commerce.
                                                                   26

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                                                                   28                                               COMPLAINT
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                                                                               122.    As a result of this defective condition, Defendants’ paraquat products either failed to
                                                                    1

                                                                    2 perform in the manner reasonably to be expected in light of their nature and intended function, or the

                                                                    3 magnitude of the dangers outweighed their utility.

                                                                    4          123.    At all relevant times, Defendants’ paraquat products were used in a manner that was
                                                                    5
                                                                        intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants
                                                                    6
                                                                        and those with whom they were acting in concert.
                                                                    7
                                                                               124.    At all relevant times, Defendants concealed the defective condition of their product
                                                                    8
                                                                        from Plaintiff thus preventing Plaintiff from discovering the causal link between their injury and
                                                                    9

                                                                   10 paraquat.

                                                                   11              C. Negligence
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                                                                   12
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                                                                               125.    At all relevant times, Defendants and those with whom they were acting inconcert
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                                                                   13
                                                                        were engaged in the U.S. paraquat business.
                                                                   14
                                                                               126.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                   15
                                                                        intended and expected that Defendants’ paraquat products would be sold and used in the State of
                                                                   16

                                                                   17 Oregon.

                                                                   18          127.    Defendants and those with whom they were acting in concert developed, registered,

                                                                   19 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

                                                                   20 and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use

                                                                   21
                                                                        in the U.S., including Oregon.
                                                                   22
                                                                               128.    Upon information and belief, for many years, Plaintiff used Defendants’ paraquat
                                                                   23
                                                                        products in Oregon repeatedly and regularly for hours at a time, resulting in the repeated, regular,
                                                                   24

                                                                   25 and prolonged exposure of Plaintiff to paraquat.

                                                                   26

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                                                                               129.   At all relevant times, in designing, manufacturing, and distributing paraquat for use
                                                                    1

                                                                    2 in formulating paraquat products and in designing, formulating, packaging, labeling, and distributing

                                                                    3 paraquat products, Defendants and those with whom they were acting in concert owed a duty to

                                                                    4 exercise ordinary care for the health and safety of persons, including Plaintiff, whom it was

                                                                    5
                                                                        reasonably foreseeable could be exposed to paraquat in such products.
                                                                    6
                                                                               130.   When Defendants and those with whom they were acting in concert designed,
                                                                    7
                                                                        manufactured, and distributed paraquat for use in formulating Defendants’ paraquat products and
                                                                    8
                                                                        designed, formulated, packaged, labeled, and distributed Defendants’ paraquat products, it was
                                                                    9

                                                                   10 reasonably foreseeable and in the exercise of ordinary care Defendants should have known, and

                                                                   11 Defendants did know, that when Defendants’ paraquat products were used in a manner that was
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                                                                   12 intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants
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                                                                   13
                                                                        and those with whom they were acting in concert:
                                                                   14
                                                                                   a. they were designed, manufactured, formulated, and packaged such that paraquat was
                                                                   15                 likely to be inhaled, ingested, and absorbed into the bodies of persons who used them,
                                                                                      were nearby while they were being used, or entered fields or orchards where they had
                                                                   16                 been sprayed or areas near where they had been sprayed; and
                                                                   17
                                                                                   b. when inhaled, ingested, or absorbed into the bodies of persons whoused them, were
                                                                   18                 nearby while they were being used, or entered fields or orchards where they had been
                                                                                      sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                   19                 contribute to cause latent, cumulative, and permanent neurological damage, and
                                                                                      repeated exposures were likely to cause or contribute to cause clinically significant
                                                                   20                 neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                   21                 manifest long after exposure.

                                                                   22          131.   In breach of their duty to Plaintiff, Defendants and those with whom they were acting

                                                                   23 in concert negligently, and in conscious disregard for the safety of others:

                                                                   24              a. failed to design, manufacture, formulate, and package Defendants’ paraquat products
                                                                   25                 to make paraquat unlikely to be inhaled, ingested, and absorbed into the bodies of
                                                                                      persons who used them, were nearby while they were being used, or entered fields or
                                                                   26                 orchards where they had been sprayed or areas near where they had been sprayed;

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                                                                             b. designed and manufactured paraquat and designed and formulated Defendants’
                                                                    1           paraquat products such that when inhaled, ingested, or absorbed into the bodies of
                                                                    2           persons who used Defendants’ paraquat products, were nearby while they were being
                                                                                used, or entered fields or orchards where they had been sprayed or areas near where
                                                                    3           they had been sprayed, paraquat was likely to cause or contribute to cause latent,
                                                                                cumulative, and permanent neurological damage, and repeated exposures were likely
                                                                    4           to cause or contribute to cause clinically significant neurodegenerative disease,
                                                                                including Parkinson’s disease, to develop over time and manifest long after exposure;
                                                                    5

                                                                    6        c. failed to perform adequate testing to determine the extent to which exposure to
                                                                                paraquat was likely to occur through inhalation, ingestion, and absorption into the
                                                                    7           bodies of persons who used Defendants’ paraquat products, were nearby while they
                                                                                were being used, or entered fields or orchards where they had been sprayed or areas
                                                                    8           near where they had been sprayed;
                                                                    9
                                                                             d. failed to perform adequate testing to determine the extent to which spray drift from
                                                                   10           Defendants’ paraquat products was likely to occur, including their propensity to drift,
                                                                                the distance they were likely to drift, and the extent to which paraquat spray droplets
                                                                   11           were likely to enter the bodies of persons spraying Defendants’ paraquat products or
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                                                                                nearby during or after spraying;
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                                                                             e. failed to perform adequate testing to determine the extent to which paraquat, when
                                                                   13
                                                                                inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
                                                                   14           paraquat products, were nearby while they were being used, or entered fields or
                                                                                orchards where they had been sprayed or areas near where they had been sprayed, was
                                                                   15           likely to cause or contribute to cause latent, cumulative, and permanent neurological
                                                                                damage, and the extent to which repeated exposures were likely to cause or contribute
                                                                   16           to cause clinically significant neurodegenerative disease, including Parkinson’s
                                                                   17           disease, to developover time and manifest long after exposure;

                                                                   18        f. failed to perform adequate testing to determine the extent to which paraquat, when
                                                                                formulated or mixed with surfactants or other pesticides or used along with other
                                                                   19           pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used
                                                                                Defendants’ paraquat products, were nearby while they were being used, or entered
                                                                   20           fields or orchards where they had been sprayed or areas near where they had been
                                                                   21           sprayed, was likely to cause or contribute to cause latent, cumulative, and permanent
                                                                                neurological damage, and the extent to which repeated exposures were likely to cause
                                                                   22           or contribute to cause clinically significant neurodegenerative disease, including
                                                                                Parkinson’s disease, to develop over time and manifest long after exposure;
                                                                   23
                                                                             g. failed to direct that Defendants’ paraquat products be used in a manner that would
                                                                   24           have made it unlikely for paraquat to have been inhaled, ingested, and absorbed into
                                                                   25           the bodies of persons who used them, were nearby while they were being used, or
                                                                                entered fields or orchards where they had been sprayed or areas near where they had
                                                                   26           been sprayed; and

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                                                                                   h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons who
                                                                    1                 used Defendants’ paraquat products, were nearby while they were being used, or
                                                                    2                 entered fields or orchards where they had been sprayed or areas near where they had
                                                                                      been sprayed, paraquat was likely to cause or contribute to cause latent, cumulative,
                                                                    3                 and permanent neurological damage, and repeated exposures were likely to cause or
                                                                                      contribute to cause clinically significant neurodegenerative disease, including
                                                                    4                 Parkinson’s disease, to develop over time and manifest long after exposure.
                                                                    5
                                                                               132.    At all relevant times, Defendants’ paraquat products were used in a manner that was
                                                                    6
                                                                        intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants
                                                                    7
                                                                        and those with whom they were acting in concert.
                                                                    8
                                                                               133.    At all relevant times, Defendants concealed the dangers of their product as listed
                                                                    9

                                                                   10 above from Plaintiff thus preventing Plaintiff from discovering the causal link between their injury

                                                                   11 and paraquat.
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                                                                                   D. Public nuisance
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                                                                   13
                                                                               134.    At all relevant times, Defendants and those with whom it was acting in concert were
                                                                   14
                                                                        engaged in the U.S. paraquat business.
                                                                   15
                                                                               135.    At all relevant times, Defendants and those with whom it was acting in concert
                                                                   16

                                                                   17 intended and expected that Defendants’ paraquat products would be sold and used in the State of

                                                                   18 Oregon.

                                                                   19          136.    Defendants and those with whom it was acting in concert developed, registered,
                                                                   20 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

                                                                   21
                                                                        and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use
                                                                   22
                                                                        in the U.S., including Oregon.
                                                                   23
                                                                               137.    Upon information and belief, for many years, Plaintiff used Defendants’ paraquat
                                                                   24

                                                                   25 products in Oregon repeatedly and regularly for hours at a time, resulting in the repeated, regular,

                                                                   26 and prolonged exposure of Plaintiff to paraquat.

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                                                                               138.   At all relevant times, Defendants and those with whom they were acting in concert
                                                                    1

                                                                    2 owed a duty to the public, including Plaintiff and other persons whom they could reasonably foresee

                                                                    3 were likely to use Defendants’ paraquat products or otherwise be in or near places where they were

                                                                    4 being or recently had been used within the State of Oregon, to provide and maintain a healthful

                                                                    5
                                                                        environment and uphold the public’s and Plaintiff’s right to a healthful environment in connection
                                                                    6
                                                                        with the design, manufacture, and distribution of paraquat for use in formulating Defendants’
                                                                    7
                                                                        paraquat products, and the design, formulation and distribution of Defendants’ paraquat products,
                                                                    8
                                                                        that Defendants intended and expected to be used in the State of Oregon.
                                                                    9

                                                                   10          139.   When Defendants and those with whom they were acting in concert designed,

                                                                   11 manufactured, and distributed paraquat for use in formulating Defendants’ paraquat products and
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                                                                   12 designed, formulated, packaged, labeled, and distributed Defendants’ paraquat products, it was
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                                                                   13
                                                                        reasonably foreseeable and in the exercise of ordinary care Defendants should have known, and
                                                                   14
                                                                        Defendants did know, that when Defendants’ paraquat products were used in a manner that was
                                                                   15
                                                                        intended or directed by or reasonably foreseeable to, and was known to or foreseen by, Defendants
                                                                   16

                                                                   17 and those with whom it was acting in concert:

                                                                   18              a. they were designed, manufactured, formulated, and packaged such that paraquat was
                                                                                      likely to be inhaled, ingested, and absorbed into the bodies of persons who used them,
                                                                   19                 were nearby while they were being used, or entered fields or orchards where they had
                                                                                      been sprayed or areas near where they had been sprayed; and
                                                                   20

                                                                   21              b. when inhaled, ingested, or absorbed into the bodies of persons who used them, were
                                                                                      nearby while they were being used, or entered fields or orchards where they had been
                                                                   22                 sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                                      contribute to cause latent, cumulative, and permanent neurological damage, and
                                                                   23                 repeated exposures were likely to cause or contribute to cause clinically significant
                                                                                      neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                   24                 manifest long after exposure.
                                                                   25

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                                                                                140.   In breach of their duty to members of the public, including Plaintiff, Defendants and
                                                                    1

                                                                    2 those with whom it was acting in concert negligently, and in conscious disregard for the safety of

                                                                    3 others:

                                                                    4              a. failed to design, manufacture, formulate, and package Defendants’ paraquat products
                                                                                      to make paraquat unlikely to be inhaled, ingested, and absorbed into the bodies of
                                                                    5
                                                                                      persons who used them, were nearby while they were being used, or entered fields or
                                                                    6                 orchards where they had been sprayed or areas near where they had been sprayed;

                                                                    7              b. designed and manufactured paraquat and designed and formulated Defendants’
                                                                                      paraquat products such that when inhaled, ingested, or absorbed into the bodies of
                                                                    8                 persons who used Defendants’ paraquat products, were nearby while they were being
                                                                                      used, or entered fields or orchards where they had been sprayed or areas near where
                                                                    9
                                                                                      they had been sprayed, paraquat was likely to cause or contribute to cause latent,
                                                                   10                 cumulative, and permanent neurological damage, and repeated exposures were likely
                                                                                      to cause or contribute to cause clinically significant neurodegenerative disease,
                                                                   11                 including Parkinson’s disease, to develop over time and manifest long after exposure;
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                                                                                   c. failed to perform adequate testing to determine the extent to which exposure to
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                                                                                      paraquat was likely to occur through inhalation, ingestion, and absorption into the
                                                                   13
                                                                                      bodies of persons who used Defendants’ paraquat products, were nearby while they
                                                                   14                 were being used, or entered fields or orchards where they had been sprayed or areas
                                                                                      near where they had been sprayed;
                                                                   15
                                                                                   d. failed to perform adequate testing to determine the extent to which spray drift from
                                                                   16                 Defendants’ paraquat products was likely to occur, including their propensity to drift,
                                                                   17                 the distance they were likely to drift, and the extent to which paraquat spray droplets
                                                                                      were likely to enter the bodies of persons spraying Defendants’ paraquat products or
                                                                   18                 nearby during or after spraying;

                                                                   19              e. failed to perform adequate testing to determine the extent to which paraquat, when
                                                                                      inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
                                                                   20                 paraquat products, were nearby while they were being used, or entered fields or
                                                                   21                 orchards where they had been sprayed or areas near where they had been sprayed, was
                                                                                      likely to cause or contribute to cause latent, cumulative, and permanent neurological
                                                                   22                 damage, and the extent to which repeated exposures were likely to cause or contribute
                                                                                      to cause clinically significant neurodegenerative disease, including Parkinson’s
                                                                   23                 disease, to develop over time and manifest long after exposure;
                                                                   24              f. failed to perform adequate testing to determine the extent to which paraquat, when
                                                                   25                 formulated or mixed with surfactants or other pesticides or used along with other
                                                                                      pesticides, and inhaled, ingested, or absorbed into the bodies of persons who used
                                                                   26                 Defendants’ paraquat products, were nearby while they were being used, or entered
                                                                                      fields or orchards where they had been sprayed or areas near where they had been
                                                                   27
                                                                                                                        32
                                                                   28                                              COMPLAINT
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                                                                                      sprayed, was likely to cause or contribute to cause latent, cumulative, and permanent
                                                                    1                 neurological damage, and the extent to which repeated exposures were likely to cause
                                                                    2                 or contribute to cause clinically significant neurodegenerative disease, including
                                                                                      Parkinson’s disease, to develop over time and manifest long after exposure;
                                                                    3
                                                                                   g. failed to direct that Defendants’ paraquat products be used in a manner that would
                                                                    4                 have made it unlikely for paraquat to have been inhaled, ingested, and absorbed into
                                                                                      the bodies of persons who used them, were nearby while they were being used, or
                                                                    5
                                                                                      entered fields or orchards where they had been sprayed or areas near where they had
                                                                    6                 been sprayed; and

                                                                    7              h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons who
                                                                                      used Defendants’ paraquat products, were nearby while they were being used, or
                                                                    8                 entered fields or orchards where they had been sprayed or areas near where they had
                                                                                      been sprayed, paraquat was likely to cause or contribute to cause latent, cumulative,
                                                                    9
                                                                                      and permanent neurological damage, and repeated exposures were likely to cause or
                                                                   10                 contribute to cause clinically significant neurodegenerative disease, including
                                                                                      Parkinson’s disease, to develop over time and manifest long after exposure.
                                                                   11
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                                                                               141.   At all relevant times, Defendants’ paraquat products were used in a manner that was
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                                                                        intended or directed by or reasonably foreseeable to, and was known to and foreseen by, Defendants
                                                                   13

                                                                   14 and those with whom it was acting in concert.

                                                                   15              E. The Oregon Unlawful Trade Practices Act, Or. Rev. Stat. §§ 646.605, et seq.
                                                                   16          142.   At all relevant times, Defendants and those with whom they were acting in concert
                                                                   17
                                                                        were engaged in the U.S. paraquat business.
                                                                   18
                                                                               143.   At all relevant times, Defendants and those with whom they were acting in concert
                                                                   19
                                                                        intended and expected that Defendants’ paraquat products would be sold and used in the State of
                                                                   20

                                                                   21 Oregon.

                                                                   22          144.   Defendants and those with whom they were acting in concert developed, registered,

                                                                   23 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,

                                                                   24 and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use

                                                                   25
                                                                        in the U.S., including Oregon.
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                                                                               145.    Upon information and belief, Plaintiff Lloyd Parsons and/or his employers purchased
                                                                    1

                                                                    2 Defendants’ paraquat products in Oregon for the purpose of controlling weeds and not for resale, and

                                                                    3 for many years, Plaintiff used these products in Oregon repeatedly and regularly for hours at a time,

                                                                    4 resulting in the repeated, regular, and prolonged exposure of Plaintiff to paraquat.

                                                                    5
                                                                               146.    At all relevant times and upon information and belief, Plaintiff, Defendant, and others
                                                                    6
                                                                        with whom Defendants acted in concert, were persons within the meaning of Or. Rev. Stat. §
                                                                    7
                                                                        646.605(4).
                                                                    8
                                                                               147.    At all relevant times, Plaintiff Lloyd Parsons was a consumer.
                                                                    9

                                                                   10          148.    The Oregon Unlawful Trade Practices Act, Or. Rev. Stat. § 646.08 (e); (g), provides

                                                                   11 in pertinent part:
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                                                                                A person engages in an unlawful practice if in the course of the person's business,
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                                                                               vocation or occupation the person does any of the following: […] Represents that real
                                                                   13
                                                                               estate, goods or services have sponsorship, approval, characteristics, ingredients, uses,
                                                                   14          benefits, quantities or qualities that the real estate, goods or services do not have or
                                                                               that a person has a sponsorship, approval, status, qualification, affiliation, or
                                                                   15          connection that the person does not have […] Represents that real estate, goods or
                                                                               services are of a particular standard, quality, or grade, or that real estate or goods are
                                                                   16          of a particular style or model, if the real estate, goods or services are of another.
                                                                   17
                                                                               149.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                   18
                                                                        had both constructive and actual knowledge that when Defendants’ paraquat products were used in
                                                                   19
                                                                        a manner that was intended or directed by or reasonably foreseeable to, and was known to or foreseen
                                                                   20

                                                                   21 by, Defendants and those with whom they were acting in concert:

                                                                   22              a. they were designed, manufactured, formulated, and packaged suchthat paraquat was
                                                                                      likely to be inhaled, ingested, and absorbed into the bodies of persons who used them,
                                                                   23                 were nearby while they were being used, or entered fields or orchards where they had
                                                                                      been sprayed or areas near where they had been sprayed; and
                                                                   24

                                                                   25              b. when inhaled, ingested, or absorbed into the bodies of persons whoused them, were
                                                                                      nearby while they were being used, or entered fields or orchards where they had been
                                                                   26                 sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                                      contribute to cause latent, cumulative, and permanent neurological damage, and
                                                                   27
                                                                                                                          34
                                                                   28                                                COMPLAINT
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                                                                                      repeated exposures were likely to cause or contribute to cause clinically significant
                                                                    1                 neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                    2                 manifest long after exposure.

                                                                    3          150.   At all relevant times, Defendants and those with whom they were acting in concert

                                                                    4 had both constructive and actual knowledge that:

                                                                    5
                                                                                  a. adequate testing had not been performed to determine the extent towhich exposure to
                                                                    6                paraquat was likely to occur through inhalation, ingestion, and absorption into the
                                                                                     bodies of persons who used Defendants’ paraquat products, were nearby while they
                                                                    7                were being used, or entered fields or orchards where they had been sprayed or areas
                                                                                     near where there had been sprayed;
                                                                    8
                                                                                  b. adequate testing had not been performed to determine the extent towhich spray drift
                                                                    9
                                                                                     was likely to occur when Defendants’ paraquat products were used, including their
                                                                   10                propensity to drift, the distance they were likely to drift, and the extent to which
                                                                                     paraquat spray droplets were likely to enter the bodies ofpersons spraying or others
                                                                   11                nearby during or after spraying;
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                                                                                  c. adequate testing had not been performed to determine the extent towhich paraquat,
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                                                                                     when inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
                                                                   13
                                                                                     paraquat products, were nearby while they were being used, or entered fields or
                                                                   14                orchards where they had been sprayed or areas near where they had been sprayed,
                                                                                     were likely to cause or contribute to cause latent, cumulative, and permanent
                                                                   15                neurological damage, and the extent to which repeated exposures were likely to cause
                                                                                     or contribute to cause clinically significant neurodegenerative disease, including
                                                                   16                Parkinson’s disease, to develop over time and manifest long after exposure; and
                                                                   17
                                                                                  d. adequate testing had not been performed to determine the extent towhich paraquat,
                                                                   18                when formulated or mixed with surfactants or other pesticides or used along with
                                                                                     other pesticides, and inhaled, ingested, or absorbed into the bodies of persons who
                                                                   19                used Defendants’ paraquat products, were nearby while they were being used, or
                                                                                     entered fields or orchards where they had been sprayedor areas near where there had
                                                                   20                been sprayed, was likely to cause or contribute to cause latent, cumulative, and
                                                                   21                permanent neurological damage, and the extent to which repeated exposures were
                                                                                     likely to cause or contribute to cause clinically significant neurodegenerative disease,
                                                                   22                including Parkinson’s disease, to develop over time and manifest long after exposure.

                                                                   23          151.   From the first date on which Defendants and those with whom they were acting in
                                                                   24 concert placed Defendants’ paraquat products into the stream of commerce for use in the State of

                                                                   25
                                                                        Oregon through the last date on which Plaintiff was exposed to Defendants’ paraquat products,
                                                                   26
                                                                        Defendants and those with whom they were acting in concert engaged in unfair or deceptive acts or
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                                                                                                                       35
                                                                   28                                              COMPLAINT
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                                                                        practices, including but not limited to deception, fraud, false pretense, false promise,
                                                                    1

                                                                    2 misrepresentation or the concealment, suppression, or omission of material facts, in designing,

                                                                    3 manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat products for

                                                                    4 distribution for sale and use in the State of Oregon and in designing, formulating, anddistributing

                                                                    5
                                                                        Defendants’ paraquat products for sale and use in the State of Oregon, in that they:
                                                                    6
                                                                                   a. concealed, suppressed, or omitted to disclose that Defendants’ paraquat products were
                                                                    7                 designed, manufactured, formulated, and packaged such that paraquat was likely to
                                                                                      be inhaled, ingested, and absorbed into the bodies of persons who used them, were
                                                                    8                 nearby while they were being used, or entered fields or orchards where they had been
                                                                                      sprayed or areas near where theyhad been sprayed;
                                                                    9

                                                                   10              b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or absorbed
                                                                                      into the bodies of persons who used Defendants’ paraquatproducts, were nearby while
                                                                   11                 they were was being used, or entered fields or orchards where they had been sprayed
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                                                                                      or areas near where they had been sprayed, paraquat was likely to cause or contribute
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                                                                                      to cause latent, cumulative, and permanent neurological damage, and repeated
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                                                                                      exposures were likely to cause or contribute to cause clinically significant
                                                                   13
                                                                                      neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                   14                 manifest long after exposure;

                                                                   15              c. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                                      performed to determine the extent to which exposure to paraquat was likely to occur
                                                                   16                 through inhalation, ingestion, and absorption into the bodies of persons who used
                                                                   17                 Defendants’ paraquat products, were nearby while they were being used, or entered
                                                                                      fields or orchards where they had been sprayed orareas near where they had been
                                                                   18                 sprayed;

                                                                   19              d. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                                      performed to determine the extent to which spray drift was likely to occur when
                                                                   20                 Defendants’ paraquat products were used, including their propensity to drift, the
                                                                   21                 distance they were likely to drift, and the extent to whichparaquat spray droplets were
                                                                                      likely to enter the bodies of persons spraying or others nearby during or after spraying;
                                                                   22
                                                                                   e. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                   23                 performed to determine the extent to which paraquat, when inhaled, ingested, or
                                                                                      absorbed into the bodies of persons who used Defendants’ paraquat products, were
                                                                   24                 nearby while they were being used, or entered fields ororchards where they had been
                                                                   25                 sprayed or areas near where they had been sprayed, was likely to cause or contribute
                                                                                      to cause latent, cumulative, and permanent neurological damage, and the extent to
                                                                   26                 which repeated exposures were likely to cause or contribute to cause clinically
                                                                                      significant neurodegenerative disease, including Parkinson’s disease, to develop over
                                                                   27
                                                                                                                         36
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                                                                                       time and manifest long after exposure; and
                                                                    1

                                                                    2              f. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                                      performed to determine the extent to which paraquat, when formulated or mixed with
                                                                    3                 surfactants or other pesticides or used along with other pesticides, and inhaled,
                                                                                      ingested, or absorbed into the bodies of persons who used Defendants’ paraquat
                                                                    4                 products, were nearby while they were being used, or entered fields or orchards where
                                                                                      they had been sprayed or areas near where they had been sprayed, was likely to cause
                                                                    5
                                                                                      or contribute to cause latent, cumulative, and permanent neurological damage, and the
                                                                    6                 extent to which repeated exposures were likely to cause or contribute to cause
                                                                                      clinically significant neurodegenerative disease, including Parkinson’s disease, to
                                                                    7                 developover time and manifest long after exposure.

                                                                    8          152.    These acts and practices of Defendants and those with whom they were acting in
                                                                    9
                                                                        concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’
                                                                   10
                                                                        paraquat products for distribution for sale and use in the State of Oregon and in designing,
                                                                   11
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                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
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                                                                        were unfair because they offended public policy, were immoral, unethical, oppressive, and
                                                                   13

                                                                   14 unscrupulous, and caused substantial injury to consumers.

                                                                   15          153.    These acts and practices of Defendants and those with whom they were acting in
                                                                   16 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   17
                                                                        paraquat products for distribution for sale and use in the State of Oregon and in designing,
                                                                   18
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
                                                                   19
                                                                        offended the clearly stated public policy of the State of Oregon, as expressed in Cal. Const. Art. I, §
                                                                   20

                                                                   21 I, that “[a]ll people are by nature free and independent and have inalienable rights. Among these are

                                                                   22 enjoying and defending life and liberty, acquiring, possessing, and protecting property, and pursuing

                                                                   23 and obtaining safety, happiness, and privacy.”

                                                                   24          154.    These acts and practices of Defendants and those with whom they were acting in
                                                                   25
                                                                        concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’
                                                                   26
                                                                        paraquat products for distribution for sale and use in the State of Oregon and in designing,
                                                                   27
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                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
                                                                    1

                                                                    2 offended the clearly stated public policy of the State of Oregon, as expressed in Or. Rev. Stat. § 468,

                                                                    3 that:

                                                                    4              a. In the interest of the public peace, health and safety, it is the policy of the State
                                                                                      of Oregon to assist in the prevention, control and reduction of air, water and
                                                                    5
                                                                                      noise pollution and solid waste, hazardous wastes and used oil in this state …
                                                                    6
                                                                                   b. It the policy of this state to support the maintenance, enhancement and
                                                                    7                 restoration of ecosystem services throughout Oregon, focusing on the
                                                                                      protection of land, water, air, soil and native flora and fauna.
                                                                    8
                                                                               155.    The public policy of the State of Oregon is further expressed in Article XV of the
                                                                    9

                                                                   10 Oregon Constitution, which provides:

                                                                   11          The people of the State of Oregon also find that renewal of the Parks and Natural
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                                                                               Resources Fund will support voluntary efforts to: (1) Protect and restore water quality,
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                                                                               watersheds and habitats for native fish and wildlife that provide a healthy environment
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                                                                               for current and future generations of Oregonians…
                                                                   13

                                                                   14          156.    These acts and practices of Defendants and those with whom they were acting in

                                                                   15 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   16 paraquat products for distribution for sale and use in the State of Oregon and in designing,

                                                                   17
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
                                                                   18
                                                                        were immoral and unethical, as they served only to benefit Defendants and those with whom they
                                                                   19
                                                                        were acting in concert at the expense of the heath of purchasers and users of Defendants’ paraquat
                                                                   20

                                                                   21 products and the public.

                                                                   22          157.    These acts and practices of Defendants and those with whom they were acting in

                                                                   23 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   24 paraquat products for distribution for sale and use in the State of Oregon and in designing,

                                                                   25
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
                                                                   26

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                                                                        were likely to cause substantial injury to purchasers and users of paraquat and the public by exposing
                                                                    1

                                                                    2 them to unnecessary risks to their health.

                                                                    3          158.    These acts and practices of Defendants and those with whom they were acting in

                                                                    4 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                    5
                                                                        paraquat products for distribution for sale and use in the State of Oregon and in designing,
                                                                    6
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use in the State of Oregon
                                                                    7
                                                                        were likely to cause, and did cause, substantial injury to purchasers and users of paraquat and the
                                                                    8
                                                                        public in that but for these acts and practices, Defendants’ paraquat products would not have been
                                                                    9

                                                                   10 purchased for use in Oregon and persons who used them, were nearby while they was being used, or

                                                                   11 entered fields or orchards where they had been sprayed or areas near where it they been sprayed,
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                                                                   12 would not have been injured by exposure to paraquat.
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                                                                   13
                                                                               159.    Defendants and those with whom they were acting in concert in designing,
                                                                   14
                                                                        manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat products for
                                                                   15
                                                                        distribution for sale and use in the State of Oregon and in designing, formulating, and distributing
                                                                   16

                                                                   17 Defendants’ paraquat products for sale and use in the State of Oregon committed these acts and

                                                                   18 engaged in these practices in conscious disregard of the safety of others, including Plaintiff Lloyd

                                                                   19 Parsons.

                                                                   20          160.    The injuries caused by these acts and practices of Defendants and those with whom
                                                                   21
                                                                        they were acting in concert in designing, manufacturing, and distributing paraquat for use in
                                                                   22
                                                                        formulating Defendants’ paraquat products for distribution for sale and use in the State of Oregon
                                                                   23
                                                                        and in designing, formulating, and distributing Defendants’ paraquat products for sale and use in the
                                                                   24

                                                                   25 State of Oregon—namely, purchasers’ monetary losses and the injuries and damages (including

                                                                   26 monetary losses) to persons who used them, were nearby while they were being used, or entered

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                                                                        fields or orchards where they had been sprayed or areas near where they had been sprayed, including
                                                                    1

                                                                    2 Plaintiff Lloyd Parsons—are not outweighed by any countervailing benefit to consumers or

                                                                    3 competition.

                                                                    4          161.    The injuries caused by these acts and practices of Defendants and those with whom
                                                                    5
                                                                        they were acting in concert in designing, manufacturing, and distributing paraquat for use in
                                                                    6
                                                                        formulating Defendants’ paraquat products for distribution for sale and use in the State of Oregon
                                                                    7
                                                                        and in designing, formulating, and distributing Defendants’ paraquat products for sale and use in the
                                                                    8
                                                                        State of Oregon—namely, purchasers’ monetary losses and the injuries and damages (including
                                                                    9

                                                                   10 monetary losses) to persons who used them, were nearby while they were being used, or entered

                                                                   11 fields or orchards where they had been sprayed or areas near where they had been sprayed, including
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                                                                   12 Plaintiff—were not reasonably avoidable; because Defendants and those with whom they were acting
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                                                                   13
                                                                        in concert had and failed to disclose material non public information, consumers had no reason to
                                                                   14
                                                                        anticipate the impending harm and thus avoid their injuries.
                                                                   15
                                                                               162.    Defendants and those with whom they were acting in concert intended that purchasers
                                                                   16

                                                                   17 of Defendants’ paraquat products, including Plaintiff Lloyd Parsons, purchase them in reliance on

                                                                   18 these unfair and deceptive acts and practices.

                                                                   19          163.    The facts that Defendants and those with whom they were acting in concert concealed,
                                                                   20 suppressed, or omitted to disclose were material to the decisions to purchase Defendants’ paraquat

                                                                   21
                                                                        products, and would not have been purchased had these facts been disclosed.
                                                                   22
                                                                               164.    These unfair and deceptive acts and practices of Defendants and those with whom
                                                                   23
                                                                        they were acting in concert occurred in connection with their conduct of trade and commerce in the
                                                                   24

                                                                   25 State of Oregon.

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                                                                               165.    These unfair and deceptive acts and practices of Defendants and those with whom
                                                                    1

                                                                    2 they were acting in concert violated the Oregon Unlawful Trade Practices Act, Or. Rev. Stat. §§

                                                                    3 646.605, et seq.

                                                                    4          166.    Defendants and those with whom they were acting in concert committed these unfair
                                                                    5
                                                                        and deceptive practices knowing they created a substantial risk of harm to Plaintiff Lloyd Parsons
                                                                    6
                                                                        and others who purchased and used Defendants’ paraquat products in Oregon.
                                                                    7
                                                                                   F. California Consumer Legal Remedies Act, Cal. Civ. § 1750, et seq.
                                                                    8
                                                                               167.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                    9

                                                                   10 were engaged in the U.S. paraquat business.

                                                                   11          168.    At all relevant times, Defendants and those with whom they were acting in concert
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                                                                   12 intended and expected that Defendants’ paraquat products would be sold from in the State of
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                                                                   13
                                                                        California and used in other states such as Oregon.
                                                                   14
                                                                               169.    Defendants and those with whom they were acting in concert developed, registered,
                                                                   15
                                                                        manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,
                                                                   16

                                                                   17 and developed, registered, formulated and distributed Defendants’ paraquat products for sale in the

                                                                   18 U.S., including California and used in other states such as Oregon.

                                                                   19          170.    Upon information and belief, Plaintiff Lloyd Parsons’s employers purchased
                                                                   20 Defendants’ paraquat products in California for the purpose of controlling weeds and not for resale,

                                                                   21
                                                                        and for many years, Plaintiff Lloyd Parsons used these products that developed, registered,
                                                                   22
                                                                        manufactured, distributed, and sold from California in Oregon repeatedly and regularly for hours at
                                                                   23
                                                                        a time, resulting in the repeated, regular, and prolonged exposure of Plaintiff Lloyd Parsons to
                                                                   24

                                                                   25 paraquat.

                                                                   26

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                                                                                171.    At all relevant times and upon information and belief, Plaintiff Lloyd Parsons,
                                                                    1

                                                                    2 Defendant, and others with whom Defendant acted in concert, were persons within the meaning of

                                                                    3 Cal. Civ. Code § 1761(c).

                                                                    4           172.    At all relevant times, Plaintiff Lloyd Parsons was a consumer within the meaning of
                                                                    5
                                                                        Cal. Civ. Code § 1761(d).
                                                                    6
                                                                                173.    The California Consumer Legal Remedies Act, Cal. Civ. § 1770(a)(5); (7), provides
                                                                    7
                                                                        in pertinent part:
                                                                    8
                                                                                The following unfair methods of competition and unfair or deceptive acts or practices
                                                                    9
                                                                                undertaken by any person in a transaction intended to result or that results in the sale
                                                                   10           or lease of goods or services to any consumer are unlawful: Representing that goods
                                                                                or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
                                                                   11           quantities that they do not have or that a person has a sponsorship, approval, status,
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                                                                                affiliation, or connection that he or she does not have [...] Representing that goods or
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                                                                   12
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                                                                                services are of a particular standard, quality, or grade, or that goods are of a particular
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                                                                                style or model, if they are of another.
                                                                   13

                                                                   14           174.    At all relevant times, Defendants and those with whom they were acting in concert

                                                                   15 had both constructive and actual knowledge that when Defendants’ paraquat products were used in

                                                                   16 a manner that was intended or directed by or reasonably foreseeable to, and was known to or foreseen

                                                                   17
                                                                        by, Defendants and those with whom they were acting in concert:
                                                                   18
                                                                                    a. they were designed, manufactured, formulated, and packaged suchthat paraquat was
                                                                   19                  likely to be inhaled, ingested, and absorbed into the bodies of persons who used them,
                                                                                       were nearby while they were being used, or entered fields or orchards where they had
                                                                   20                  been sprayed or areas near where they had been sprayed; and
                                                                   21
                                                                                    b. when inhaled, ingested, or absorbed into the bodies of persons whoused them, were
                                                                   22                  nearby while they were being used, or entered fields or orchards where they had been
                                                                                       sprayed or areas near where they had been sprayed, paraquat was likely to cause or
                                                                   23                  contribute to cause latent, cumulative, and permanent neurological damage, and
                                                                                       repeated exposures were likely to cause or contribute to cause clinically significant
                                                                   24                  neurodegenerative disease, including Parkinson’s disease, to develop over time and
                                                                   25                  manifest long after exposure.

                                                                   26

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                                                                   28                                                 COMPLAINT
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                                                                               175.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                    1

                                                                    2 had both constructive and actual knowledge that:

                                                                    3              a. adequate testing had not been performed to determine the extent towhich exposure to
                                                                                      paraquat was likely to occur through inhalation, ingestion, and absorption into the
                                                                    4                 bodies of persons who used Defendants’ paraquat products, were nearby while they
                                                                                      were being used, or entered fields or orchards where they had been sprayed or areas
                                                                    5
                                                                                      near where there had been sprayed;
                                                                    6
                                                                                   b. adequate testing had not been performed to determine the extent towhich spray drift
                                                                    7                 was likely to occur when Defendants’ paraquat products were used, including their
                                                                                      propensity to drift, the distance they were likely to drift, and the extent to which
                                                                    8                 paraquat spray droplets were likely to enter the bodies ofpersons spraying or others
                                                                                      nearby during or after spraying;
                                                                    9

                                                                   10              c. adequate testing had not been performed to determine the extent towhich paraquat,
                                                                                      when inhaled, ingested, or absorbed into the bodies of persons who used Defendants’
                                                                   11                 paraquat products, were nearby while they were being used, or entered fields or
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                                                                                      orchards where they had been sprayed or areas near where they had been sprayed,
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                                                                                      were likely to cause or contribute to cause latent, cumulative, and permanent
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                                                                                      neurological damage, and the extent to which repeated exposures were likely to cause
                                                                   13
                                                                                      or contribute to cause clinically significant neurodegenerative disease, including
                                                                   14                 Parkinson’s disease, to develop over time and manifest long after exposure; and

                                                                   15              d. adequate testing had not been performed to determine the extent towhich paraquat,
                                                                                      when formulated or mixed with surfactants or other pesticides or used along with
                                                                   16                 other pesticides, and inhaled, ingested, or absorbed into the bodies of persons who
                                                                   17                 used Defendants’ paraquat products, were nearby while they were being used, or
                                                                                      entered fields or orchards where they had been sprayedor areas near where there had
                                                                   18                 been sprayed, was likely to cause or contribute to cause latent, cumulative, and
                                                                                      permanent neurological damage, and the extent to which repeated exposures were
                                                                   19                 likely to cause or contribute to cause clinically significant neurodegenerative disease,
                                                                                      including Parkinson’s disease, to develop over time and manifest long after exposure.
                                                                   20

                                                                   21          176.    From the first date on which Defendants and those with whom they were acting in

                                                                   22 concert placed Defendants’ paraquat products into the stream of commerce from the State of

                                                                   23 California through the last date on which Plaintiff Lloyd Parsons was exposed to Defendants’

                                                                   24 paraquat products, Defendants and those with whom they were acting in concert engaged in unfair

                                                                   25
                                                                        or deceptive acts or practices, including but not limited to deception, fraud, false pretense, false
                                                                   26
                                                                        promise, misrepresentation or the concealment, suppression, or omission of material facts, in
                                                                   27
                                                                                                                        43
                                                                   28                                               COMPLAINT
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                                                                        designing, manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat
                                                                    1

                                                                    2 products for distribution for sale and use from the State of California and in designing, formulating,

                                                                    3 anddistributing Defendants’ paraquat products for sale and use from the State of California, in that

                                                                    4 they:

                                                                    5
                                                                                  a. concealed, suppressed, or omitted to disclose that Defendants’ paraquat products were
                                                                    6                designed, manufactured, formulated, and packaged such that paraquat was likely to
                                                                                     be inhaled, ingested, and absorbed into the bodies of persons who used them, were
                                                                    7                nearby while they were being used, or entered fields or orchards where they had been
                                                                                     sprayed or areas near where theyhad been sprayed;
                                                                    8
                                                                                  b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or absorbed
                                                                    9
                                                                                     into the bodies of persons who used Defendants’ paraquatproducts, were nearby while
                                                                   10                they were was being used, or entered fields or orchards where they had been sprayed
                                                                                     or areas near where they had been sprayed, paraquat was likely to cause or contribute
                                                                   11                to cause latent, cumulative, and permanent neurological damage, and repeated
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                                                                                     exposures were likely to cause or contribute to cause clinically significant
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                                                                                     neurodegenerative disease, including Parkinson’s disease, to develop over time and
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                                                                                     manifest long after exposure;
                                                                   13

                                                                   14             c. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                                     performed to determine the extent to which exposure to paraquat was likely to occur
                                                                   15                through inhalation, ingestion, and absorption into the bodies of persons who used
                                                                                     Defendants’ paraquat products, were nearby while they were being used, or entered
                                                                   16                fields or orchards where they had been sprayed orareas near where they had been
                                                                   17                sprayed;

                                                                   18             d. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                                     performed to determine the extent to which spray drift was likely to occur when
                                                                   19                Defendants’ paraquat products were used, including their propensity to drift, the
                                                                                     distance they were likely to drift, and the extent to whichparaquat spray droplets were
                                                                   20                likely to enter the bodies of persons spraying or others nearby during or after spraying;
                                                                   21
                                                                                  e. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                   22                performed to determine the extent to which paraquat, when inhaled, ingested, or
                                                                                     absorbed into the bodies of persons who used Defendants’ paraquat products, were
                                                                   23                nearby while they were being used, or entered fields ororchards where they had been
                                                                                     sprayed or areas near where they had been sprayed, was likely to cause or contribute
                                                                   24                to cause latent, cumulative, and permanent neurological damage, and the extent to
                                                                   25                which repeated exposures were likely to cause or contribute to cause clinically
                                                                                     significant neurodegenerative disease, including Parkinson’s disease, to develop over
                                                                   26                time and manifest long after exposure; and

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                                                                   28                                              COMPLAINT
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                                                                                   f. concealed, suppressed, or omitted to disclose that adequate testing had not been
                                                                    1                 performed to determine the extent to which paraquat, when formulated or mixed with
                                                                    2                 surfactants or other pesticides or used along with other pesticides, and inhaled,
                                                                                      ingested, or absorbed into the bodies of persons who used Defendants’ paraquat
                                                                    3                 products, were nearby while they were being used, or entered fields or orchards where
                                                                                      they had been sprayed or areas near where they had been sprayed, was likely to cause
                                                                    4                 or contribute to cause latent, cumulative, and permanent neurological damage, and the
                                                                                      extent to which repeated exposures were likely to cause or contribute to cause
                                                                    5
                                                                                      clinically significant neurodegenerative disease, including Parkinson’s disease, to
                                                                    6                 developover time and manifest long after exposure.

                                                                    7          177.    These acts and practices of Defendants and those with whom they were acting in

                                                                    8 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                    9
                                                                        paraquat products for distribution for sale and use from the State of California and in designing,
                                                                   10
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use from the State of
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                                                                        California were unfair because they offended public policy, were immoral, unethical, oppressive, and
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                                                                        unscrupulous, and caused substantial injury to consumers.
                                                                   13

                                                                   14          178.    These acts and practices of Defendants and those with whom they were acting in

                                                                   15 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   16 paraquat products for distribution for sale and use from the State of California and in designing,

                                                                   17
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use from the State of
                                                                   18
                                                                        California offended the clearly stated public policy of the State of California, as expressed in Cal.
                                                                   19
                                                                        Const. Art. I, § I, that “[a]ll people are by nature free and independent and have inalienable rights.
                                                                   20

                                                                   21 Among these are enjoying and defending life and liberty, acquiring, possessing, and protecting

                                                                   22 property, and pursuing and obtaining safety, happiness, and privacy.”

                                                                   23          179.    These acts and practices of Defendants and those with whom they were acting in
                                                                   24 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   25
                                                                        paraquat products for distribution for sale and use from the Stateof California and in designing,
                                                                   26
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use from the State of
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                                                                        California offended the clearly stated public policy of the State of California, as expressed in
                                                                    1

                                                                    2 California Environmental Quality Act, Cal. Pub. Res. Code § 21000, that:

                                                                    3              a. The maintenance of a quality environment for the people of this state now and in the
                                                                                      future is a matter of statewide concern.
                                                                    4
                                                                                   b. It is necessary to provide a high-quality environment that at all times is healthful and
                                                                    5
                                                                                      pleasing to the senses and intellect of man.
                                                                    6
                                                                                   c. It is the intent of the Legislature that all agencies of the state government which
                                                                    7                 regulate activities of private individuals, corporations, and public agencies which
                                                                                      are found to affect the quality of the environment, shall regulate such activities so
                                                                    8                 that major consideration is given to preventing environmental damage, while
                                                                                      providing a decent home and satisfying living environment for every Californian.
                                                                    9

                                                                   10          180.    These acts and practices of Defendants and those with whom they were acting in

                                                                   11 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’
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                                                                   12 paraquat products for distribution for sale and use from the State of California and in designing,
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                                                                   13
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use from the State of
                                                                   14
                                                                        California were immoral and unethical, as they served only to benefit Defendants and those with
                                                                   15
                                                                        whom they were acting in concert at the expense of the heath of purchasers and users of Defendants’
                                                                   16

                                                                   17 paraquat products and the public.

                                                                   18          181.    These acts and practices of Defendants and those with whom they were acting in

                                                                   19 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

                                                                   20 paraquat products for distribution for sale and use from the State of California and in designing,

                                                                   21
                                                                        formulating, and distributing Defendants’ paraquat products for sale and use from the State of
                                                                   22
                                                                        California were likely to cause substantial injury to purchasers and users of paraquat and the public
                                                                   23
                                                                        by exposing them to unnecessary risks to their health.
                                                                   24

                                                                   25          182.    These acts and practices of Defendants and those with whom they were acting in

                                                                   26 concert in designing, manufacturing, and distributing paraquat for use in formulating Defendants’

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                                                                        paraquat products for distribution for sale and use from the State of California and in designing,
                                                                    1

                                                                    2 formulating, and distributing Defendants’ paraquat products for sale and use from the State of

                                                                    3 California were likely to cause, and did cause, substantial injury to purchasers and users of paraquat

                                                                    4 and the public in that but for these acts and practices, Defendants’ paraquat products would not have

                                                                    5
                                                                        been purchased for use in Oregon and persons who used them, were nearby while they was being
                                                                    6
                                                                        used, or entered fields or orchards where they had been sprayed or areas near where it they been
                                                                    7
                                                                        sprayed, would not have been injured by exposure to paraquat.
                                                                    8
                                                                               183.    Defendants and those with whom they were acting in concert in designing,
                                                                    9

                                                                   10 manufacturing, and distributing paraquat for use in formulating Defendants’ paraquat products for

                                                                   11 distribution for sale and use from the State of California and in designing, formulating, and
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                                                                   12 distributing Defendants’ paraquat products for sale and use from the State of California committed
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                                                                   13
                                                                        these acts and engaged in these practices in conscious disregard of the safety of others, including
                                                                   14
                                                                        Plaintiff Lloyd Parsons.
                                                                   15
                                                                               184.    The injuries caused by these acts and practices of Defendants and those with whom
                                                                   16

                                                                   17 they were acting in concert in designing, manufacturing, and distributing paraquat for use in

                                                                   18 formulating Defendants’ paraquat products for distribution for sale and use from the State of

                                                                   19 California and in designing, formulating, and distributing Defendants’ paraquat products for sale and

                                                                   20 use from the State of California—namely, purchasers’ monetary losses and the injuries and damages

                                                                   21
                                                                        (including monetary losses) to persons who used them, were nearby while they were being used, or
                                                                   22
                                                                        entered fields or orchards where they had been sprayed or areas near where they had been sprayed,
                                                                   23
                                                                        including Plaintiff Lloyd Parsons—are not outweighed by any countervailing benefit to consumers
                                                                   24

                                                                   25 or competition.

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                                                                               185.    The injuries caused by these acts and practices of Defendants and those with whom
                                                                    1

                                                                    2 they were acting in concert in designing, manufacturing, and distributing paraquat for use in

                                                                    3 formulating Defendants’ paraquat products for distribution for sale and use from the State of

                                                                    4 California and in designing, formulating, and distributing Defendants’ paraquat products for sale and

                                                                    5
                                                                        use from the State of California—namely, purchasers’ monetary losses and the injuries and damages
                                                                    6
                                                                        (including monetary losses) to persons who used them, were nearby while they were being used, or
                                                                    7
                                                                        entered fields or orchards where they had been sprayed or areas near where they had been sprayed,
                                                                    8
                                                                        including Plaintiff Lloyd Parsons—were not reasonably avoidable; because Defendants and those
                                                                    9

                                                                   10 with whom they were acting in concert had and failed to disclose material non public information,

                                                                   11 consumers had no reason to anticipate the impending harm and thus avoid their injuries.
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                                                                               186.    Defendants and those with whom they were acting in concert intended that purchasers
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                                                                   13
                                                                        of Defendants’ paraquat products, including Plaintiff Lloyd Parsons, purchase them in reliance on
                                                                   14
                                                                        these unfair and deceptive acts and practices.
                                                                   15
                                                                               187.    The facts that Defendants and those with whom they were acting in concert concealed,
                                                                   16

                                                                   17 suppressed, or omitted to disclose were material to the decisions to purchase Defendants’ paraquat

                                                                   18 products, and would not have been purchased had these facts been disclosed.

                                                                   19          188.    These unfair and deceptive acts and practices of Defendants and those with whom
                                                                   20 they were acting in concert occurred in connection with their conduct of trade and commerce from

                                                                   21
                                                                        the State of California.
                                                                   22
                                                                               189.    These unfair and deceptive acts and practices of Defendants and those with whom
                                                                   23
                                                                        they were acting in concert violated the California Consumer Legal Remedies Act, 1750, et seq.
                                                                   24

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                                                                               190.    Defendants and those with whom they were acting in concert committed these unfair
                                                                    1

                                                                    2 and deceptive practices knowing they created a substantial risk of harm to Plaintiff Lloyd Parsons

                                                                    3 and others who purchased and used Defendants’ paraquat products in California.

                                                                    4              G. Breach of implied warranty of merchantability
                                                                    5
                                                                               191.    At all relevant times, Defendants and those with whom they were acting inconcert
                                                                    6
                                                                        were engaged in the U.S. paraquat business.
                                                                    7
                                                                               192.    At all relevant times, Defendants and those with whom they were acting in concert
                                                                    8
                                                                        intended and expected that Defendants’ paraquat products would be sold andused in the State of
                                                                    9

                                                                   10 Oregon.

                                                                   11          193.    Defendants and those with whom they were acting in concert developed, registered,
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                                                                   12 manufactured, distributed, and sold paraquat for use in formulating Defendants’ paraquat products,
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                                                                   13
                                                                        and developed, registered, formulated and distributed Defendants’ paraquat products for sale and use
                                                                   14
                                                                        in the U.S., including Oregon.
                                                                   15
                                                                               194.    Upon information and belief, Plaintiff used Defendants’ paraquat products in Oregon
                                                                   16

                                                                   17 repeatedly and regularly for hours at a time, resulting in the repeated, regular, and prolonged exposure

                                                                   18 of Plaintiff to paraquat.

                                                                   19          195.    At the time of each sale of Defendants’ paraquat products that resulted in Plaintiff’s
                                                                   20 exposure to paraquat, Defendants and those with whom they were acting in concert impliedly

                                                                   21
                                                                        warranted that Defendants’ paraquat products were of merchantable quality, including that they were
                                                                   22
                                                                        fit for the ordinary purposes for which such goods were used, pursuant to section 2 314 of the
                                                                   23
                                                                        Uniform Commercial Code.
                                                                   24

                                                                   25          196.    Defendants and those with whom they were acting in concert breached this warranty

                                                                   26 as to each sale of Defendants’ paraquat products that resulted in Plaintiff’ exposure to paraquat, in

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                                                                        that Defendants’ paraquat products were not of merchantable quality because they were not fit for
                                                                    1

                                                                    2 the ordinary purposes for which such goods were used, and in particular:

                                                                    3                a. they were designed, manufactured, formulated, and packaged suchthat paraquat was
                                                                                        likely to be inhaled, ingested, and absorbed into the bodies of persons who used them,
                                                                    4                   were nearby while they were being used, or entered fields or orchards where they had
                                                                                        been sprayed or areas near where they had been sprayed; and
                                                                    5

                                                                    6                b. when inhaled, ingested, or absorbed into the bodies of persons whoused Defendants’
                                                                                        paraquat products, were nearby while they were being used, or entered fields or
                                                                    7                   orchards where they had been sprayed or areas near where they had been sprayed,
                                                                                        paraquat was likely to cause or contribute to cause latent,cumulative, and permanent
                                                                    8                   neurological damage, and repeated exposures were likely to cause or contribute to
                                                                                        cause clinically significant neurodegenerative disease, including Parkinson’s disease,
                                                                    9
                                                                                        to develop over time and manifest long after exposure.
                                                                   10
                                                                                        COUNT 1 – STRICT PRODUCT LIABILITY DESIGN DEFECT
                                                                   11                       PLAINTIFF v. DEFENDANTS SCPLLC AND SAG
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                                                                               197.     Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
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                                                                   13
                                                                        Complaint.
                                                                   14
                                                                               198.     As a direct and proximate result of the defective and unreasonably dangerous
                                                                   15
                                                                        condition of Defendants’ paraquat products, Plaintiff Lloyd Parsons developed Parkinson’s disease;
                                                                   16

                                                                   17 has suffered severe and permanent physical pain, mental anguish, and disability, and will continue

                                                                   18 to do so for the remainder of his life; has suffered the loss of a normal life and will continue to do so

                                                                   19 for the remainder of his life; has lost income that he otherwise would have earned and will continue

                                                                   20 to do so for the remainder of his life; and has incurred reasonable expenses for necessary medical

                                                                   21
                                                                        treatment and will continue to do so for the remainder of his life.
                                                                   22
                                                                                      COUNT 2 – STRICT PRODUCT LIABILITY – FAILURE TO WARN
                                                                   23                       PLAINTIFF v. DEFENDANTS SCPLLC AND SAG
                                                                   24          199.     Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                   25
                                                                        Complaint.
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                                                                               200.    As a direct and proximate result of the lack of adequate directions for the use of and
                                                                    1

                                                                    2 warnings about the dangers of Defendants’ paraquat products, Plaintiff Lloyd Parsons developed

                                                                    3 Parkinson’s disease; has suffered severe and permanent physical pain, mental anguish, and disability,

                                                                    4 and will continue to do so for the remainder of his life; has suffered the loss of a normal life and will

                                                                    5
                                                                        continue to do so for the remainder of his life; has lost income that he otherwise would have earned
                                                                    6
                                                                        and will continue to do so for the remainder of his life; and has incurred reasonable expenses for
                                                                    7
                                                                        necessary medical treatment and will continue to do so for the remainder of his life.
                                                                    8
                                                                                                       COUNT 3 – NEGLIGENCE
                                                                    9
                                                                                              PLAINTIFF v. DEFENDANTS SCPLLC AND SAG
                                                                   10
                                                                               201.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                   11
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                                                                               202.    As a direct and proximate result of the negligence of Defendants and those with whom
                                                                   13

                                                                   14 they were acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease; has suffered

                                                                   15 severe and permanent physical pain, mental anguish, and disability, and will continue to do so for

                                                                   16 the remainder of his life; has suffered the loss of a normal life and will continue to do so for the

                                                                   17
                                                                        remainder of his life; has lost income that he otherwise would have earned and will continue to do
                                                                   18
                                                                        so for the remainder of his life; and has incurred reasonable expenses for necessary medical treatment
                                                                   19
                                                                        and will continue to do so for the remainder of his life.
                                                                   20

                                                                   21                               COUNT 4 – PUBLIC NUISANCE
                                                                                              PLAINTIFF v. DEFENDANTS SCPLLC AND SAG
                                                                   22
                                                                               203.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                   23
                                                                        Complaint.
                                                                   24

                                                                   25          204.    As a direct and proximate result of the public nuisance created by Defendants and

                                                                   26 those with whom they were acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease;

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                                                                        has suffered severe and permanent physical pain, mental anguish, and disability, and will continue
                                                                    1

                                                                    2 to do so for the remainder of his life; has suffered the loss of a normal life and will continue to do so

                                                                    3 for the remainder of his life; has lost income that he otherwise would have earned and will continue

                                                                    4 to do so for the remainder of his life; and has incurred reasonable expenses for necessary medical

                                                                    5
                                                                        treatment and will continue to do so for the remainder of his life.
                                                                    6
                                                                             COUNT 5 – OREGON UNLAWFUL TRADE PRACTICES ACT & CALIFORNIA
                                                                    7                        CONSUMER LEGAL REMEDIES ACT
                                                                                         PLAINTIFF v. DEFENDANTS SCPLLC AND SAG
                                                                    8
                                                                               205.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                    9

                                                                   10 Complaint.

                                                                   11          206.    As a direct and proximate result of the violations of the Oregon Unlawful Trade
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                                                                   12 Practices Act and the California Consumer Legal Remedies Act by Defendants and those with whom
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                                                                   13
                                                                        they were acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease; has suffered
                                                                   14
                                                                        severe and permanent physical pain, mental anguish, and disability, and will continue to do so for
                                                                   15
                                                                        the remainder of his life; has suffered the loss of a normal life and will continue to do so for the
                                                                   16

                                                                   17 remainder of his life; has lost income that he otherwise would have earned and will continue to do

                                                                   18 so for the remainder of his life; and has incurred reasonable expenses for necessary medical treatment

                                                                   19 and will continue to do so for the remainder of his life.

                                                                   20          COUNT 6 – BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                                                   21                     PLAINTIFF v. DEFENDANTS SCPLLC AND SAG

                                                                   22          207.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this

                                                                   23 Complaint.

                                                                   24          208.    As a direct and proximate result of the breaches of the implied warranty of
                                                                   25
                                                                        merchantability by Defendants and those with whom they were acting in concert, Plaintiff Lloyd
                                                                   26
                                                                        Parsons developed Parkinson’s disease; has suffered severe and permanent physical pain, mental
                                                                   27
                                                                                                                          52
                                                                   28                                                COMPLAINT
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                                                                        anguish, and disability, and will continue to do so for the remainder of his life; has suffered the loss
                                                                    1

                                                                    2 of a normal life and will continue to do so for the remainder of his life; has lost income that he

                                                                    3 otherwise would have earned and will continue to do so for the remainder of his life; and has incurred

                                                                    4 reasonable expenses for necessary medical treatment and will continue to do so for the remainder of

                                                                    5
                                                                        his life.
                                                                    6
                                                                                        COUNT 7 – STRICT PRODUCT LIABILITY – DESIGN DEFECT
                                                                    7                      PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.

                                                                    8           209.     Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                    9
                                                                        Complaint.
                                                                   10
                                                                                210.     As a direct and proximate result of the defective and unreasonably dangerous
                                                                   11
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                                                                        condition of Defendants’ paraquat products, Plaintiff Lloyd Parsons developed Parkinson’s disease;
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                                                                        has suffered severe and permanent physical pain, mental anguish, and disability, and will continue
                                                                   13

                                                                   14 to do so for the remainder of his life; has suffered the loss of a normal life and will continue to do so

                                                                   15 for the remainder of his life; has lost income that he otherwise would have earned and will continue

                                                                   16 to do so forthe remainder of his life; and has incurred reasonable expenses for necessary medical

                                                                   17
                                                                        treatment and will continue to do so for the remainder of his life.
                                                                   18
                                                                                       COUNT 8 – STRICT PRODUCT LIABILITY – FAILURE TO WARN
                                                                   19                      PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.
                                                                   20           211.     Plaintiff incorporates in this Count by reference 1 through 196 of this Complaint.
                                                                   21
                                                                                212.     As a direct and proximate result of the lack of adequate directions for the use of and
                                                                   22
                                                                        warnings about the dangers of Defendants’ paraquat products, Plaintiff John developed Parkinson’s
                                                                   23
                                                                        disease; has suffered severe and permanent physical pain, mental anguish, and disability, and will
                                                                   24

                                                                   25 continue to do so for the remainder of his life; has suffered the loss of a normal life and will continue

                                                                   26 to do so for the remainder of his life; has lost income that he otherwise would have earned and will

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                                                                        continue to do so for the remainder of his life; and has incurred reasonable expenses for necessary
                                                                    1

                                                                    2 medical treatment and will continue to do so for the remainder of his life.

                                                                    3                                  COUNT 9 – NEGLIGENCE
                                                                                            PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.
                                                                    4
                                                                               213.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                    5

                                                                    6 Complaint.

                                                                    7          214.    As a direct and proximate result of the negligence of Defendants and those with whom

                                                                    8 was acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease; has suffered severe

                                                                    9
                                                                        and permanent physical pain, mental anguish, and disability, and will continue to do so for the
                                                                   10
                                                                        remainder of his life; has suffered the loss of a normal life and will continue to do so for the remainder
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                                                                        of his life; has lost income that he otherwise would have earned and will continue to do so for the
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                                                                        remainder of his life; and has incurred reasonable expenses for necessary medical treatment and will
                                                                   13

                                                                   14 continue to do so for the remainder of his life.

                                                                   15                               COUNT 10 – PUBLIC NUISANCE
                                                                                            PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.
                                                                   16

                                                                   17          215.    Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this

                                                                   18 Complaint.

                                                                   19          216.    As a direct and proximate result of the public nuisance created by Defendants and
                                                                   20 those with whom they were acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease;

                                                                   21
                                                                        has suffered severe and permanent physical pain, mental anguish, and disability, and will continue
                                                                   22
                                                                        to do so for the remainder of his life; has suffered the loss of a normal life and will continue to do so
                                                                   23
                                                                        for the remainder of his life; has lost income that he otherwise would have earned and will continue
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                                                                   25 to do so forthe remainder of his life; and has incurred reasonable expenses for necessary medical

                                                                   26 treatment and will continue to do so for the remainder of his life.

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                                                                             COUNT 11 – OREGON UNLAWFUL TRADE PRACTICES ACT & CALIFORNIA
                                                                    1                        CONSUMER LEGAL REMEDIES ACT
                                                                    2                   PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.

                                                                    3           217.   Plaintiff Lloyd Parsons incorporates in this Count by reference paragraphs 1 through
                                                                    4
                                                                        196 of this Complaint.
                                                                    5
                                                                                218.   As a direct and proximate result of the violations of the Oregon Unlawful Trade
                                                                    6
                                                                        Practices Act and the California Consumer Legal Remedies Act by Defendants and those with whom
                                                                    7

                                                                    8 they were acting in concert, Plaintiff Lloyd Parsons developed Parkinson’s disease; has suffered

                                                                    9 severe and permanent physical pain, mental anguish, and disability, and will continue to do so for

                                                                   10 the remainder of his life; has suffered the loss of a normal life and will continue to do so for the

                                                                   11 remainder of his life; has lost income that he otherwise would have earned and will continue to do
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                                                                        so for the remainder of his life; and has incurred reasonable expenses for necessary medical treatment
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                                                                   13
                                                                        and will continue to do so for the remainder of his life.
                                                                   14
                                                                               COUNT 12 – BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                                                   15                   PLAINTIFF v. DEFENDANTS CHEVRON U.S.A., INC.
                                                                   16
                                                                                219.   Plaintiff incorporates in this Count by reference paragraphs 1 through 196 of this
                                                                   17
                                                                        Complaint.
                                                                   18
                                                                                220.   As a direct and proximate result of the breaches of the implied warranty of
                                                                   19

                                                                   20 merchantability by Defendants and those with whom they were acting in concert, Plaintiff Lloyd

                                                                   21 Parsons developed Parkinson’s disease; has suffered severe and permanent physical pain, mental

                                                                   22 anguish, and disability, and will continue to do so for the remainder of his life; has suffered the loss

                                                                   23
                                                                        of a normal life and will continue to do so forthe remainder of his life; has lost income that he
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                                                                        otherwise would have earned and will continue to do so for the remainder of his life; and has incurred
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                                                                        reasonable expenses fornecessary medical treatment and will continue to do so for the remainder of
                                                                   26
                                                                        his life.
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                                                                        VIII.     Plaintiff’s prayer for relief
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                                                                    2             221.   Plaintiff Lloyd Parsons prays that this Court enter judgment in his favor and against

                                                                    3 Defendants SYNGENTA CROP PROTECTION LLC, SYNGENTA AG, and CHEVRON U.S.A.,

                                                                    4 INC., jointly and severally for compensatory damages in an amount greater than $75,000.00 plus

                                                                    5
                                                                         costs of suit, severally as to each Defendants for punitive damages in an amount sufficient to punish
                                                                    6
                                                                         it and encourage it and others from similar conduct, for reasonable attorney’s fees, and for such
                                                                    7
                                                                         further relief as is just and appropriate in the circumstances.
                                                                    8

                                                                    9

                                                                   10     DATED: April 30, 2021                                 PANISH SHEA & BOYLE LLP

                                                                   11                                                           By:
   LLP




                                                                                                                                Peter L. Kaufman
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                                                                                                                                Jeffrey P. Goodman*
                                                                   14                                                           Joshua C. Cohan*
                                                                                                                                Samuel B. Dordick*
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                                                                                                                                Mark A. DiCello*
                                                                   22                                                           Mark M. Abramowitz*
                                                                                                                                DICELLO LEVITT GUTZLER LLC
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                                                                                                                                Mentor, Ohio 44060
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                                                                   26                                                           Adam J. Levitt*
                                                                                                                                Amy E. Keller*
                                                                   27
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                                                                                                                           Katherine A. Kiziah*
                                                                    5                                                      SEARCY DENNEY SCAROLA
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                                                                                                                           kkiziah@searcylaw.com
                                                                    8
                                                                                                                          Counsel for Plaintiff
                                                                    9   *Applications for admission pro hac vice to be filed
                                                                   10

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                                                                    1                                   DEMAND FOR JURY TRIAL

                                                                    2
                                                                             Plaintiff hereby demands a trial by jury as to all causes of action.
                                                                    3
                                                                        DATED: April 30, 2021                               PANISH SHEA & BOYLE LLP
                                                                    4

                                                                    5
                                                                                                                            By:
                                                                    6                                                       Peter L. Kaufman

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